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             NOT YET SCHEDULED FOR ORAL ARGUMENT
                               Appeal No. 17-7035
                     (consolidated with Appeal No. 17-7039)


                  United States Court of Appeals
                   FOR THE DISTRICT OF COLUMBIA CIRCUIT


      American Society for Testing and Materials; National Fire Protection
      Association, Inc.; and American Society of Heating, Refrigerating,
      and Air Conditioning Engineers, Inc.,
                                                 Appellees,
                                       v.
                            Public.Resource.Org, Inc.,
                                                 Appellant.


     Appeal from the United States District Court for the District of Columbia
                            Hon. Tanya S. Chutkan
                               1:13-cv-1215-TSC
                               1:14-cv-0857-TSC


                 APPELLANT PUBLIC.RESOURCE.ORG’S
                 FINAL CONSOLIDATED OPENING BRIEF


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                                February 14, 2018
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                                 CERTIFICATES

       Pursuant to D.C. Circuit Rules 26.1 and 28(a)(1), Defendant–Appellant

Public.Resource.Org, Inc., certifies as follows:

I.     Parties and Amici

       Public.Resource.Org, Inc., is the appellant and was the defendant in the

district court. Public.Resource.Org certifies that it has no parent corporation and

that no publicly held corporation owns 10 percent or more of its stock.

       The appellees in appeal no. 17-7035 are American Society for Testing and

Materials d/b/a ASTM International; National Fire Protection Association, Inc.;

and American Society of Heating, Refrigerating, and Air Conditioning Engineers

(collectively the “ASTM Plaintiffs”). The appellees in appeal no. 17-7039 are

American Educational Research Association, Inc.; American Psychological

Association, Inc.; and National Council on Measurement in Education, Inc.

(collectively the “AERA Plaintiffs”). The appellees were the plaintiffs in the

district court.

       The amici that appeared below are the American National Standards

Institute, Inc.; American Society of Safety Engineers; Institute of Electrical and

Electronics Engineers, Inc.; International Association of Plumbing & Mechanical

Officials; National Electrical Manufacturers Association; North American Energy

Standards Board; Underwriters Laboratories Inc.; American Insurance



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Association; International Code Council, Inc.; Public Knowledge; Knowledge

Ecology International; American Library Association; Reporters Committee for

Freedom of the Press; Sina Bahram; Prof. David Ardia; Prof. Stacey L. Dogan;

Prof. Pamela Samuelson; Prof. Jessica M. Silbey; Prof. Rebecca L. Tushnet; Prof.

Jennifer Urban; and Prof. Jonathan Zittrain.

II.   Rulings Under Review

      Defendant–Appellant Public.Resource.Org seeks review of the following

rulings by the Honorable Tanya S. Chutkan, United States District Judge for the

District of Columbia:

      1.    American Society for Testing and Materials et al. v.
            Public.Resource.Org, Inc., 1:13-cv-01215-TSC-DAR

             JA2051(ASTM-Dkt-172), Order Denying Motion to Strike Expert

                Report, entered September 21, 2016. This order has not been

                published.

             JA2059(ASTM-Dkt-175), Memorandum Opinion, and

                JA2114(ASTM-Dkt-176), Order Granting Plaintiffs’ Motion for

                Summary Judgment and Denying Defendant’s Cross-motion for

                Summary Judgment, entered February 2, 2017. The

                memorandum opinion has not been published but is available at

                American Society for Testing and Materials v.

                Public.Resource.Org, Inc., No. 13-cv-1215 and 14-cv-0857, 2017


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                WL 473822 (D.D.C. Feb. 2, 2017). The order has not been

                published.

              JA2118(ASTM-Dkt-182), Amended Order, entered April 3, 2017.

                This order has not been published.

       2.    American Educational Research Association et al. v.
             Public.Resource.Org, Inc., 1:14-cv-00857-TSC-DAR

              JA3256(AERA-Dkt-115), Order Denying Defendant’s Motion to

                Strike Expert Declaration, entered September 21, 2016. This

                order has not been published.

              JA3401(AERA-Dkt-117), Memorandum Opinion, and

                JA3456(AERA-Dkt-118), Order Granting in Part and Denying in

                Part Plaintiffs’ Motion for Summary Judgment and Denying

                Defendant’s Cross-motion for Summary Judgment, entered

                February 2, 2017. The opinion has not been published but is

                available at 2017 WL 473822. This order has not been published.

III.   Related Cases

       This case is consolidated with appeal no. 17-7039, American Educational

Research Association, et al. v. Public.Resource.Org, Inc. Counsel are unaware of

any other related cases.




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                     GLOSSARY OF ABBREVIATIONS

  AERA               American Educational Research Association (Plaintiff)
  ALEC               American Legislative Exchange Council
  AMA                American Medical Association
  APA                American Psychological Association (Plaintiff)
  ASHRAE             American Society of Heating, Refrigeration, and Air
                     Conditioning Engineers (Plaintiff)
  ASTM               American Society of Testing and Materials (Plaintiff)
  CFR                Code of Federal Regulations
  CPT                Physician’s Current Procedural Terminology
  HCFA               Health Care Financing Administration
  HCPCS              HCFA Common Procedure Coding System
  HTML               Hypertext Markup Language
  MML                Mathematics Markup Language
  NCME               National Council for Measurement in Education (Plaintiff)
  NEC                National Electrical Code (of NFPA)
  NFPA               National Fire Protection Association (Plaintiff)
  NTTAA              National Technology Transfer and Advancement Act of
                     1995, 15 U.S.C. § 3701 et seq.
  SDO(s)             standards development organization(s)




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                       STATEMENT OF JURISDICTION

       The district court had jurisdiction under 28 U.S.C. §§ 1331 and 1338(a).

 Because it explicitly enjoined Public.Resource.Org in both cases, see Document

 1669990, Exs. C, D, and G, this Court has appellate jurisdiction under 28 U.S.C.

 § 1292(a)(1) without any further showing. See Salazar ex rel. Salazar v. D.C., 671

 F.3d 1258, 1261 (D.C. Cir. 2012).

       The district court filed injunction orders on February 2, 2017.

 JA2114(ASTM-Dkt-176); JA3457(AERA-Dkt-119). Public.Resource.Org

 noticed appeals from those orders on February 15 and 17, 2017. JA2115(ASTM-

 Dkt-177); JA3461(AERA-Dkt-120). The district court amended one injunction

 on April 3, 2017; Public.Resource.Org filed an amended notice of appeal on April

 6, 2017. JA2118(ASTM-Dkt-182); JA2120(ASTM-Dkt-183). This appeal is

 timely under Rule 4(a)(1)(A).




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                             ISSUES PRESENTED

 1.   Does the Constitution guarantee persons the right to display and

      disseminate federal and state laws and regulations, including laws and

      regulations that have been explicitly incorporated by reference into law?

 2.   Do the Copyright Act and related doctrines accommodate that guarantee?

 3.   Do Public.Resource.Org’s display and dissemination of complete

      documents that federal and state governments have explicitly incorporated

      by reference into laws and regulations, and its recasting of those documents

      into formats to make the laws and regulations accessible to the visually

      impaired and more useful as a legal resource, constitute fair use under

      copyright law?

 4.   Should the Court remand for further proceedings regarding copyright

      ownership, given that federal government employees jointly authored

      relevant standards in the course and scope of their employment?

 5.   Was Public.Resource.Org’s display and dissemination of documents,

      without any claim of ownership of those documents, lawful either pursuant

      to Dastar Corp. v. Twentieth Century Fox Film Corp., or because it was a

      fair use or noninfringing under trademark law?

 6.   Did the district court err by enjoining Public.Resource.Org from posting the

      law?



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              PERTINENT STATUTES AND OTHER AUTHORITIES

          The pertinent statutes and other authorities are in the addendum to this

 brief.

                                    INTRODUCTION

          Once federal and state governments have adopted laws and regulations, all

 persons have fundamental First Amendment and due process rights to publicize,

 display, and disseminate them, free from veto power by any government or

 person.

          The Plaintiffs in this case argue there is one major exception to this well-

 established principle. Plaintiffs are standards development organizations (SDOs)

 that coordinate the creation of standards, such as the National Electrical Code,

 reflecting best practices in a number of fields. As part of their work, these SDOs

 have persuaded federal, state, and local governments to adopt some (but not all) of

 their standards and codes as laws and regulations. Those laws and regulations

 govern the public, and violations carry criminal and civil penalties.

          Unlike other entities that draft legislation for government consideration, the

 SDOs assert a copyright claim in legal mandates. They insist that, because their

 standards became law by reference, they have a right to control the display and

 dissemination of the laws and regulations.




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       Ignoring decades of judicial precedent, the Constitution, and the Copyright

 Act, the district court agreed, wrongly ruling that incorporation by reference

 allowed these SDOs a private copyright monopoly that trumps both the First

 Amendment and the public’s interest in broad access to the law. This Court

 should reverse that decision.

                           STATEMENT OF THE CASE

       Public.Resource.Org, a nonprofit corporation, makes laws and other

 government materials widely available for the public to learn, understand, and

 discuss. JA1070-1071(ASTM-Dkt-121-5 ¶¶3-4); JA3068(AERA-Dkt-69-5 ¶¶3-

 4). Public.Resource.Org posted to the Web standards that federal and state

 governments had expressly incorporated into laws and regulations “by reference”

 and thereby turned into government edicts. JA1074-1076(ASTM-Dkt-121-5

 ¶¶15, 20-25); JA3071-3075(AERA-Dkt-69-5 ¶¶15, 20-25). This case has no

 bearing on the vast majority of the SDOs’ standards, which have not been

 incorporated into law.

       The SDOs seek to stop that lawful and beneficial activity.

 1.    Governmental incorporation by reference turns some standards into
       enforceable laws and regulations.
       This case concerns a specific category of law: standards that federal, state,

 and local governments have adopted as edicts through “incorporation by

 reference.”


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       Incorporation by reference is an alternative to express inclusion of language

 into a government’s published laws or regulations. See 5 U.S.C. §552(a)(1);

 1 C.F.R. §§ 51.1-51.11. It occurs at every level of government. As the Office of

 the Federal Register has explained, material incorporated by reference, “like any

 other properly issued rule, has the force and effect of law.” JA1879(ASTM-Dkt-

 122-9 at 86); JA3248(AERA-Dkt-70-64 at 3); see also United States v. Myers,

 553 F.3d 328, 331 (4th Cir. 2009) (material incorporated by reference has the

 same force of law as the incorporating regulation itself). The federal government

 initiated the practice of incorporating some materials by reference instead of

 reproducing them to limit the bulk of the Code of Federal Regulations (“CFR”).

 JA1879(ASTM-Dkt-122-9 at 86); JA3248(AERA-Dkt-70-64 at 3). States and

 municipalities also turn standards into law, sometimes through incorporation by

 reference and in other instances by including an entire standard verbatim in the

 law. See, e.g., Minn. Admin. Rule 4761.2460, Subp. 2(C); California Code of

 Regulations, Title 24, Part 3.

       Each standard on Public.Resource.Org’s website has become a federal or

 state law or regulation through incorporation by reference. JA1076(ASTM-Dkt-

 121-5 ¶24); 34 C.F.R. § 668.146; Minn. Admin. Rule 4761.2460, Subp. 2(C). For

 example, the National Electrical Code has been incorporated into federal law and

 published verbatim in the California Electrical Code. See California Code of



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 Regulations, Title 24, Part 3. SDOs often lobby governments to incorporate their

 standards by reference. JA1229-1235, JA1240(ASTM-Dkt-122-2 at 21-27, 32);

 JA1543-1598(ASTM-Dkt-122-4 at 26-81); JA1171, JA1178-1180,

 JA1182(ASTM-Dkt-122-1 at 252, 259-261, 263); JA1513-1517(ASTM-Dkt-122-

 3 at 26-30); JA1006-1007, JA1009(ASTM-Dkt-120-6 at 8-9, 11); JA3241(AERA-

 Dkt-70-51), JA2915, JA2922(68-7 at 13, 20); JA3050(AERA-Dkt-68-30);

 JA3054(AERA-Dkt-68-31); JA3058(AERA-Dkt-68-32); JA2950-2951(AERA-

 Dkt-68-9 at 24-25); JA3085(AERA-Dkt-70-43); JA3087(AERA-Dkt-70-44);

 JA3098(AERA-Dkt-70-45).

       Governments may prosecute and punish persons for failing to obey

 standards that have become law. To take just two examples: the Supreme Court

 of Virginia treated violation of the National Electrical Code as equivalent to a

 violation of the Virginia Building Code, which incorporated the NEC by

 reference, and subject to criminal sanctions. Virginia Elec. & Power Co. v. Savoy

 Const. Co., 294 S.E.2d 811, 816-17 (Va. 1982). After the deadly “Ghost Ship”

 fire in Oakland, California, prosecutors charged persons with manslaughter for

 violation of fire safety codes that are incorporated by reference.2



 2
  Declaration in Support of Probable Cause, California v. Harris, No. 17-CR-
 017349A (Cal. Super. Ct. June 5, 2017), available at
 https://www.scribd.com/document/350446988/Ghost-Ship-fire-criminal-charges;
 Criminal Complaint, California v. Harris, No. 17-CR-017349A (Cal. Super. Ct.

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 2.    Public.Resource.Org educates the public about the law, including
       standards that have become law.
       Public.Resource.Org provides online access to many kinds of government

 materials, from judicial opinions to video recordings of congressional hearings.

 JA1072-1074(ASTM-Dkt-121-5 ¶¶8-14); JA3069-3071(AERA-Dkt-69-5 ¶¶8-14).

 As part of this mission, Public.Resource.Org operates a website where the public

 can access the law, including statutes, judicial opinions, and public safety and

 other standards that federal and state governments have incorporated into law by

 reference. JA1072-1076(ASTM-Dkt-121-5 ¶¶8-25); JA1081-1135(ASTM-Dkt-

 122-1 at 4-58); JA3069-3075(AERA-Dkt-69-5 ¶¶8-25). Public.Resource.Org also

 contributes its materials to the Internet Archive. Id.

       Public.Resource.Org does not limit, or charge for, access to its platform.

 JA1076(ASTM-Dkt-121-5 ¶24); JA3074(AERA-Dkt-69-5 ¶24). It does not

 display or derive any revenue from advertising. It relies entirely on contributions

 and grants. JA1078(ASTM-Dkt-121-5 ¶30); JA3076(AERA-Dkt-69-5 ¶30). It

 seeks, as its name suggests, to provide a public resource.

       Public.Resource.Org offers a unique contribution to public discourse by

 making laws and regulations incorporated by reference more accessible to more

 persons than ever before. For example, by reformatting documents,



 June 5, 2017), available at https://cbssanfran.files.wordpress.com/2017/06/almena-
 and-harris-complaint.pdf.

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 Public.Resource.Org allows persons with visual disabilities to enlarge the text or

 use electronic text-to-speech readers to hear the text. JA1635-1647(ASTM-Dkt-

 122-6 at 139-151); JA3121-3129(AERA-Dkt-70-50 at 8-16). Similarly,

 Public.Resource.Org often translates images into vector graphics for better

 enlargement. Id. It uses optical character recognition (“OCR”), and often

 painstakingly retypes documents into Hypertext Markup Language (“HTML”)

 and converts formulas to Mathematics Markup Language (“MML”). Id. This

 makes documents word-searchable and allows researchers to analyze them at

 large scale with techniques such as machine learning. JA1074-1078(ASTM-Dkt-

 121-5 ¶¶18, 25-28); JA3072, JA3074-3076(AERA-Dkt-69-5 ¶¶16-17, 25-28).

 3.    Apart from Public.Resource.Org, public access to the incorporated laws
       and regulations is limited.
       Without the database that Public.Resource.Org provided, citizens have only

 four limited options for accessing laws and regulations that derive from the SDO

 standards. First, one may make an appointment to visit the National Archives in

 Washington, D.C., to read a paper version of a federally incorporated standard.

 See, e.g., 34 C.F.R. § 668.146. This option does not provide meaningful access

 for persons without the means to travel to Washington, or persons with visual

 disabilities, and it does not allow computer-aided analysis.

       Second, one can sometimes, but not always, purchase copies of the

 standards. The standards at issue in this case are currently effective as law, but


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 except for the 2014 National Electrical Code all the standards at issue are obsolete

 as standards for their industries because the SDOs have withdrawn them or issued

 newer standards to replace them. See, e.g., http://www.worldcat.org/title/

 standard-specification-for-physical-information-to-be-provided-for-amusement-

 rides-and-devices-withdrawn-2009 (WorldCat entry for withdrawn standard).

 Indeed, the latest ASTM standard at issue in this case is from 2007; the latest

 ASHRAE standard is from 2010; before NFPA amended the complaint to add the

 2014 National Electrical Code, the latest NFPA standard at issue was from 2011;

 and the only AERA standard at issue is from 1999. Compare JA47(ASTM-Dkt-

 1-1), JA57(ASTM-Dkt-1-2), and JA59(ASTM-Dkt-1-3), with JA1689-

 1724(ASTM-Dkt-122-6 at 193-228) (identifying all ASTM Plaintiffs standards

 from the original complaint as being superseded or withdrawn); JA2158(AERA-

 Dkt-1). Copies of many standards may be available only secondhand. Some

 standards are available only on paper because the sponsoring SDO has not

 authorized electronic versions, and thus they are unavailable to persons with

 visual disabilities or for computer-aided analysis. JA1635-1647(ASTM-Dkt-122-

 6 at 139-151); JA3121-3129(AERA-Dkt-70-50 at 8-16). Even when available,

 the price for a single standard can cost $200, and federal laws often incorporate

 multiple standards. JA385(ASTM-Dkt-118-10 ¶18).




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       Third, one can search libraries for standards. Contrary to the SDOs’

 suggestion, library availability is poor; libraries typically carry current standards

 but not earlier standards that still function as law, and library copies are typically

 only on paper. For example, according to WorldCat no libraries carry the

 incorporated 1998 edition of ASTM D396, Standard Specification for Diesel Fuel

 Oils, and only three libraries appears to possess any edition at all (the 2008 and

 2010 editions, which are not law).3

       Finally, one can access some standards through online “reading rooms”—

 some of them established only after Public.Resource.Org’s efforts highlighted the

 lack of public access. Not all of the standards at issue are available, however, and

 the SDOs have created numerous barriers and conditions on use of those that are

 available.4 To access reading rooms, citizens must create online profiles with

 personal information and agree to receive e-mail advertisements. They must also

 agree to contracts of adhesion including terms such as a forum-selection clause,

 consent to jurisdiction in a potentially distant court, consent to service of process



 3
   WorldCat, https://www.worldcat.org/title/standard-specification-for-fuel-
 oils/oclc/958281438 and https://www.worldcat.org/title/standard-specification-for-
 fuel-oils/oclc/761733606&referer=brief_results (searched August 27, 2017).
 4
   ASTM, NFPA, and ASHRAE reading rooms are at
 https://www.astm.org/READINGLIBRARY/, http://www.nfpa.org/codes-and-
 standards/all-codes-and-standards/free-access, and
 https://www.ashrae.org/standards-research--technology/standards--
 guidelines/other-ashrae-standards-referenced-in-code.

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 by mail, indemnity, and acknowledgment that the SDO owns copyrights.

 JA1849-1856(ASTM-Dkt-122-8 at 162-169); JA1861-1863(ASTM-Dkt-122-9 at

 3-5). Patrons cannot reproduce text from the standards, even to a clipboard.

 JA1635-1647(ASTM-Dkt-122-6 at 139-151). These online reading rooms

 unnecessarily restrict display of documents to a 5”x7” box within the web

 browser, which makes it impossible to view a whole page at once and encumbers

 extended reading or study. See n.4 above; see also JA1635-1647(ASTM-Dkt-

 122-6 at 139-151); JA1859-1860(ASTM-Dkt-122-8 at 172-173); JA1054(ASTM-

 Dkt-120-30); JA1058(ASTM-Dkt-120-31); JA1061(ASTM-Dkt-120-32). All of

 the ASTM Plaintiffs’ online reading rooms ignore persons with visual disabilities,

 as the textual displays do not work with text-to-speech technology. JA1635-

 1647(ASTM-Dkt-122-6 at 139-151). The textual displays also preclude

 computer-aided analysis. Id.

 4.    Committees of expert volunteers, including federal, state, and municipal
       officials, author the standards.

       The SDOs provide frameworks by which numerous committees of

 volunteers—federal, state, and local government employees; industry

 representatives; academic and other technical experts; and others—weigh

 proposals for appropriate methods, processes, procedures, specifications, and

 other standards on a wide variety of topics, such as child safety and energy

 efficiency. JA47(ASTM-Dkt-1-1); JA1032(ASTM-Dkt-120-9); JA1169-


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 1170(ASTM-Dkt-122-1 at 250-51); JA1252(ASTM-Dkt-122-2 at 44);

 JA57(ASTM-Dkt-1-2); JA1023(ASTM-Dkt-120-7 at 5); JA1151, JA1153,

 JA1157, JA1161-1162(ASTM-Dkt-122-1 at 220, 222, 226, 230-31);

 JA59(ASTM-Dkt-1-3); JA1212-1213, JA1227-1228, JA1238(ASTM-Dkt-122-2

 at 4-5, 19-20, 30); JA1538, JA1542(ASTM-Dkt-122-4 at 12, 25); JA2912(AERA-

 Dkt-68-7 at 10); JA3045-3048(AERA-Dkt-68-29 at 5-8). Volunteer committee

 members suggest and evaluate both new language and revisions to language from

 earlier standards. JA1245, JA1269(ASTM-Dkt-122-2 at 37, 61); JA1623-

 1627(ASTM-Dkt-122-6 at 127-131); JA1759-1860(ASTM-Dkt-122-8 at 80-174);

 JA1005-1006(ASTM-Dkt-120-6 at 7-8); JA1152(ASTM-Dkt-122-1 at 221);

 JA1214-1216, JA1225-1226(ASTM-Dkt-122-2 at 6-8, 17-18); JA2912(AERA-

 Dkt-68-7 at 10); JA3045-3048(AERA-Dkt-68-29 at 5-8). They debate the scope,

 structure, and wording of standards, working to consensus on the final form to

 reflect either minimally acceptable or best industry practices using the most

 precise, scientific terms possible. JA1244, JA1255, JA1261, 1268(ASTM-Dkt-

 122-2 at 36, 47, 53, 60); JA1005-1006(ASTM-Dkt-120-6 at 7-8); JA1154(ASTM-

 Dkt-122-1 at 223); JA1224(ASTM-Dkt-122-2 at 16); JA2900(AERA-Dkt-68-6 at

 4). The SDOs’ employees facilitate that process, but they do not author the

 standards or control the final content. JA1244, JA1255, JA1261, 1268(ASTM-

 Dkt-122-2 at 36, 47, 53, 60); JA1005-1006(ASTM-Dkt-120-6 at 7-8);



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 JA1154(ASTM-Dkt-122-1 at 223); JA1225(ASTM-Dkt-122-2 at 17);

 JA2905(AERA-Dkt-68-7 at 3).

 5.    Unable to support their original claims to ownership of the standards at
       issue here, the SDOs now argue they are “joint authors” with all the
       committee volunteers, including government employees.
       There is a substantial dispute whether the SDOs even own copyrights in the

 standards at issue. To establish copyright ownership, the SDOs initially relied

 upon registrations in which they claimed that the standards at issue were “works

 made for hire.” JA1271-1489(ASTM-Dkt-122-2 at 63-281); JA3078(AERA-Dkt-

 70-10); JA3038(AERA-Dkt-68-28). But that status requires that the claimant

 either employ the creator of the work or, if the creator is an independent

 contractor, obtain a valid, written, and specific agreement. See 17 U.S.C. § 101

 (“work made for hire” definition). Alternatively, they claimed to have acquired

 rights by assignment. JA139(ASTM-Dkt-118-1 at 28); JA2907-2908, JA2910-

 2911(AERA-Dkt-68-7 at 5-6, 8-9); JA2990(AERA-Dkt-68-12); JA2993-

 3034(AERA-Dkt-68-14 to AERA-Dkt-68-26).

       When discovery revealed neither ownership position was valid, the SDOs

 instead claimed standing as “joint authors” with all the volunteers who

 participated in drafting the standards (JA140(ASTM-Dkt-118-1 at 29);

 JA2214(AERA-Dkt-60-1 at 12))—contrary to numerous documents either

 inconsistent with, or explicitly disclaiming, that claim. Compare, e.g., JA129-



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 130(ASTM-Dkt-46 at 9-10) (NFPA assertion about assignments of copyrights

 from volunteers), JA116-117(ASTM-Dkt-46-1 at 1-2) (NFPA declaration),

 JA1934(ASTM-Dkt-155 at 43) (ASTM admitting it did not seek assignments until

 “approximately 2005”), JA1602-1621(ASTM-Dkt-122-5 at 71-90) (1999, 2003,

 and 2010 versions of ASTM “IP Policy” showing “assignment” language was first

 added in 2010, three years after the latest ASTM standard at issue), JA1243,

 JA1246-1247, JA1248-1250, JA1254, JA1256, JA1263(ASTM-Dkt-122-2 at 35,

 38-39, 40-42, 46, 48, 55) (ASTM’s 30(b)(6) representative admitting ASTM was

 unable to produce a single signed assignment for any standard at issue, and that

 until recently ASTM did not realize it needed assignment agreements); JA1864-

 1876(ASTM-Dkt-122-9 at 71-83) (NFPA form expressly disclaiming rights as

 joint author), JA1600(ASTM-Dkt-122-5 at 65) (NFPA form effectively

 disclaiming rights as joint author), JA1535(ASTM-Dkt-122-3 at 132) (ASHRAE

 form effectively disclaiming rights as joint author) with JA140(ASTM-Dkt-118-1

 at 29) (ASTM Plaintiffs’ MSJ brief, arguing “joint works” instead of assignments

 or works made for hire).

       Among the persons whom the SDOs now claim are “joint authors” of the

 standards are numerous federal, state, and local government officials. See, e.g.,

 JA1041(ASTM-Dkt-120-11) (Consumer Product Safety Comm’n employee);




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 JA1044(ASTM-Dkt-120-12) (U.S. Army Corps of Engineers); JA1046 (ASTM-

 Dkt-120-13) (Dep’t of HHS).

 6.    The SDOs seek to make their standards law and benefit financially from
       the force of their standards as law.
       The SDOs benefit when their standards become law. JA1010(ASTM-Dkt-

 120-6 at 12); JA1200-1201(ASTM-Dkt-122-1 at 281-82); JA1547-1562(ASTM-

 Dkt-122-4 at 30-45) (ASHRAE referring to its “EPAct advantage”);

 JA2959(AERA-Dkt-68-10 at 4). Each of the SDOs sells supplementary material,

 and in some cases training programs, touting special insight into laws and

 regulations that the standards constitute. For example, to sell an ancillary

 handbook, NFPA sends emails saying “Be confident your work complies with

 California law” and stressing “California has adopted the 2011 NEC.”5

 JA1931(ASTM-Dkt-124-5). Similarly, ASTM, selling training material, states

 “[k]nowledge of ASTM standards is important for complying with U.S.

 regulations and procurement requirements.” JA1511(ASTM-Dkt-122-3 at 24).

       For that reason, SDOs work to persuade governments to adopt their

 standards as laws and regulations. SDOs in both lawsuits maintain offices in



 5
   NFPA also advertises its $199.95 National Electrical Code with California
 Amendments (which is the only print version of the California Electrical Code),
 stating “[s]tay up-to-code and in compliance with the 2016 California Electrical
 Code.” See http://catalog.nfpa.org/NFPA-70-National-Electrical-Code-with-
 California-Amendments-P17223.aspx.

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 Washington, D.C., and promote governmental adoption and awareness of their

 standards. JA1566-1598(ASTM-Dkt-122-4 at 49-81); JA1170-1171, JA1178-

 1180(ASTM-Dkt-122-1 at 251-252, 259-261); JA1726, JA1728-1753(ASTM-

 Dkt-122-7 at 26, 46-71); JA1513-1517, JA1518-1533(ASTM-Dkt-122-3 at 26-30,

 112-127); JA1006-1007, JA1009(ASTM-Dkt-120-6 at 8-9, 11); JA3044(AERA-

 Dkt-68-29 at 4) (listing D.C. address); JA2953-2954(AERA-Dkt-68-9 at 27-28);

 JA3102(AERA-Dkt-70-46); JA3110(AERA-Dkt-70-47) (AERA Plaintiffs’

 Capitol Hill event promoting the 2014 Testing Standards). These efforts are

 effective: governments routinely adopt standards like the National Electrical Code

 into law with little or no change, so that it is “almost a foregone conclusion.”

 Allied Tube & Conduit Corp. v. Indian Head, Inc., 486 U.S. 492, 512-513 (1988),

 (characterizing NEC as “proposed legislation”) (White, J., dissenting).

 7.    The SDOs suffered no loss from Public.Resource.Org’s posting of
       standards.
       The SDOs have suffered no loss from Public.Resource.Org’s activities. For

 the seven years after Public.Resource.Org began posting incorporated standards,

 the ASTM Plaintiffs admitted, they were unaware of any measurable loss from the

 postings. JA1138, JA1145(ASTM-Dkt-122-1 at 207, 214); JA1185, 1188, 1190,

 1191-1194, 1196-1197, 1201-1202, 1205-1208(ASTM-Dkt-122-1 at 266, 269,

 271, 272-75, 277-78, 282-83, 286-89); JA1065(ASTM-Dkt-120-33); JA1168,

 JA1173-1175(ASTM-Dkt-122-1 at 249, 254-56). As for the AERA Plaintiffs’


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 1999 Standards, sales began rapidly declining in 2011—well before

 Public.Resource.Org posted them in June 2012—which correlates with the AERA

 Plaintiffs’ announcement that a new edition was forthcoming. JA3063(AERA-

 Dkt-68-34); JA3081(AERA-Dkt-70-38); JA3083(AERA-Dkt-70-39);

 JA3065(AERA-Dkt-68-35); JA2940-2941, JA2943-2946(AERA-Dkt-68-9 at 14-

 15, 17-20); JA2965-2966(AERA-Dkt-68-11 at 4-5). Moreover, upon publication

 of their 2014 Standards, the AERA Plaintiffs took the 1999 Standards off the

 market as outdated.6 JA2216(AERA-Dkt-60-2 ¶35); JA2931(AERA-Dkt-68-9 at

 5). Because the 1999 Standards document was current law, however,

 Public.Resource.Org posted it; Public.Resource.Org has not posted the 2014

 AERA standards document because it is not law. During the one full year that

 Public.Resource.Org displayed the 1999 Standards, AERA’s sales actually

 increased. JA3063(AERA-Dkt-68-34); JA3081(AERA-Dkt-70-38);

 JA3083(AERA-Dkt-70-39); JA3065(AERA-Dkt-68-35).

 8.    The district court proceedings
       The ASTM Plaintiffs sued Public.Resource.Org for direct and contributory

 copyright infringement and for trademark infringement involving hundreds of

 standards. The AERA Plaintiffs sued for direct and contributory copyright


 6
  The AERA Plaintiffs later resumed sales in limited fashion after the non-
 availability of these legally mandated standards was raised by
 Public.Resource.Org’s counsel. JA2921(AERA-Dkt-68-7 at 19).

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 infringement of only one document, the 1999 Standards. After discovery the

 parties filed cross-motions for summary judgment: the ASTM Plaintiffs sought

 summary judgment on nine standards, and the AERA Plaintiffs sought judgment

 on their sole standard. The district judge heard the motions together and issued

 one consolidated memorandum.

       The district court granted summary judgment to both sets of plaintiffs and

 permanently enjoined Public.Resource.Org from unauthorized use of the

 standards that were the subject of the motions and unauthorized use of the ASTM

 Plaintiffs’ trademarks (which thwarts use of all their standards because the ASTM

 Plaintiffs’ trademarks are on the standards). JA2114(ASTM-Dkt-176);

 JA2118(ASTM-Dkt-182) (amended order); JA3456(AERA-Dkt-118). The

 district court denied summary judgment on the AERA Plaintiffs’ contributory

 infringement claim but otherwise ruled against Public.Resource.Org on virtually

 every point. Specifically, the district court found that (1) the SDOs had

 established copyright ownership based on their registrations, ignoring evidence

 undermining those registrations and without delving into the implications of the

 SDOs’ joint-ownership claim; (2) the SDOs had the right to control access to and

 expression of the law; (3) Public.Resource.Org’s posting of the standards as law

 was not a lawful fair use; (4) Public.Resource.Org’s posting of standards that bore

 ASTM Plaintiffs’ trademarks infringed their trademarks; and (5) Plaintiffs had



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 met the standard for a permanent injunction notwithstanding the public interest in

 expressing and sharing the law.

       Public.Resource.Org appeals.

                             STANDARD OF REVIEW

       This Court reviews a district court’s grant of summary judgment de novo.

 Robinson v. Pezzat, 818 F.3d 1, 7 (D.C. Cir. 2016). This Court reviews a district

 court’s evidentiary rulings, including rulings concerning the admissibility of

 expert witness opinions, under an abuse of discretion standard. General Elec. Co.

 v. Joiner, 522 U.S. 136, 141-143 (1997).

                           SUMMARY OF ARGUMENT

       Public.Resource.Org aims to do one simple and important thing: to provide

 a database of laws and regulations so that the public can know and understand the

 rules that govern it. Public.Resource.Org does so by presenting to the public,

 without fee or restriction, the full content of laws and regulations, including

 documents that federal and state governments have declared to be the law through

 incorporation by reference. It makes these laws and regulations available online

 to all persons, including those who are visually impaired and those who cannot

 travel to the repositories where governments make them available for viewing by

 the public. Public.Resource.Org seeks to facilitate comment on, criticism of, and

 debate over the laws.



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       The SDOs invoke the statutory monopoly of copyright to try to shut down

 this work. But the First Amendment and the due process provisions of the Fifth

 and Fourteenth Amendments do not allow it. All laws and regulations of

 governments belong to the public, and no court can properly enjoin their public

 display or dissemination. Thus for 183 years it has been a principle of United

 States law, recognized in numerous court decisions, that law itself is not subject to

 copyright. Properly interpreted, Copyright Act and related doctrines reflect and

 support this principle.

       First, laws are themselves facts, ideas, and principles; as such they lack

 copyright protection. The Copyright Act expressly excludes from copyright “any

 idea, procedure, process, system, method of operation, concept, principle, or

 discovery.” 17 U.S.C. § 102(b). The law is itself a system, and specific laws and

 regulations are quintessential principles of government and its relation to the

 public. Those principles lie outside copyright no matter how they arose. Second,

 where few options exist for expressing facts, the “merger” doctrine denies

 copyright protection. No description, paraphrase, or characterization suffices to

 teach or describe the exact obligations a law or regulation imposes. Third, the fair

 use doctrine protects conduct, like that of Public.Resource.Org, that serves

 copyright’s constitutional purpose “to promote the Progress of Science and useful




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 Arts.” 17 U.S.C. § 107; U.S. Const., art. I, § 8, cl. 8. Public.Resource.Org’s use

 of the incorporated standards here falls within the doctrine’s protection.

       Each of these limiting doctrines independently requires reversal of the

 district court’s decision on the copyright claims. If this Court nevertheless

 endorses the district court’s rulings, the Court should still remand the case for

 further proceedings on copyright ownership. The SDOs made a strategic

 litigation decision to repudiate their previous assertions and to recast themselves

 as “joint authors” with all the volunteers who created the standards. If the SDOs’

 theory is correct, the joint participation of many United States Government

 employees means that the standards may qualify as U.S. Government works,

 which are not subject to copyright. The district court did not address this issue.

       The ASTM Plaintiffs’ trademark claims also must fail. They allege

 trademark infringement because Public.Resource.Org posted the law as fully and

 accurately as it could, including the logos and names that were on the

 incorporated documents. The Supreme Court’s decision in Dastar Corp. v.

 Twentieth Century Fox Film Corp., 539 U.S. 23 (2003), forecloses such an end-

 run around the contours of copyright law, and the appearance of the names and

 logos in connection with the incorporated documents is non-infringing.




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                                    ARGUMENT

 I.    An Injunction Prohibiting Public.Resource.Org from Communicating
       the Exact Content of Laws and Regulations to the Public Violates the
       Constitution and Harms the Public Interest.

       Regardless of who crafted the words that become law, and regardless of

 whether a government publishes the words in its own books or instead

 incorporates those words as law by reference, the Constitution protects the

 unfettered right of all persons to communicate and teach the law. The district

 court’s injunctions impinged on that right, contrary to clear precedent and the

 public interest.

       A.     The First Amendment Protects Public.Resource.Org’s Right to
              Teach and Display Laws and Regulations and to Provide the
              Public with Means to Access, Annotate, and Criticize Them.
       The injunctions below impair Public.Resource.Org’s First Amendment

 right to speak on, and communicate, matters of public interest.

       The right to speak, to celebrate some views, to protest others, or simply to

 learn and inquire are core to the First Amendment. Packingham v. North

 Carolina, 137 S. Ct. 1730, 1735 (2017). Accordingly, the First Amendment

 protects “public access to discussion, debate, and the dissemination of information

 and ideas.” First Nat’l Bank of Boston v. Bellotti, 435 U.S. 765, 781-83 (1978).

 It also embraces the freedom to teach, Griswold v. Connecticut, 381 U.S. 479, 482

 (1965), and the right to receive information and ideas, Stanley v. Georgia, 394



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 U.S. 557, 564 (1969), particularly information about the law, Nieman v.

 VersusLaw, Inc., 512 Fed. App’x. 635, 637-38 (7th Cir. 2013). As the Supreme

 Court noted in striking down a statute that would close criminal trials, “‘a major

 purpose of [the First] Amendment was to protect the free discussion of

 governmental affairs.’ [This] serves to ensure that the individual citizen can

 effectively participate in and contribute to our republican system of self-

 government.” Globe Newspaper Co. v. Superior Court for Norfolk Cty., 457 U.S.

 596, 604 (1982) (quoting Mills v. Alabama, 384 U.S. 214, 218 (1966)).

       The ability to share the law is crucial when the law incorporates standards

 by reference. The public cannot blindly rely on the federal or state agencies that

 adopt private standards into law to ensure that those standards serve the public

 interest as opposed to serving the private parties who play a major role in drafting

 them. As in every other area of law, the public must have the ability to do that

 work itself and to register concerns with the legislatures that can provide a check

 on those agencies’ actions. See Jodi L. Short, The Political Turn in American

 Administrative Law: Power, Rationality, and Reasons, 61 Duke L.J. 1811, 1821

 (2012); Mark Seidenfeld, A Big Picture Approach to Presidential Influence on

 Agency Policy-Making, 80 Iowa L. Rev. 1, 9–10 (1994).

       The injunctions also interfere with the right “to petition the Government for

 a redress of grievances.” U.S. Const. amend. I. In the context of the law that



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 governs the nation and its subdivisions, the abilities to know the law, to teach the

 law to others, and to criticize and comment on the law are fundamental to the

 meaningful exercise of that right. See, e.g., Bounds v. Smith, 430 U.S. 817, 828

 (1977) (right of inmates of access to courts requires provision of access to law

 libraries or adequate assistance of lawyers). In Bounds, the Court noted that “a

 lawyer must know what the law is,” stressing that need was no less vital for a

 person without a lawyer. Id. at 825-26. While that case concerned resort to courts

 as the form of petition, the same point applies to citizens who wish to review,

 learn, obey, criticize, and propose changes to the law. Public.Resource.Org

 provides the law to the public specifically to stimulate such activity.

       All of these concerns have particular significance in the Internet age, when

 it is possible to share information and views more broadly and quickly than ever.

 In 1997 the Supreme Court identified the “vast democratic forums of the Internet”

 as one of the most important forums for speech. Reno v. Am. Civil Liberties

 Union, 521 U.S. 844, 868 (1997). Two decades later, the Court again emphasized

 the importance of Internet forums where persons “can speak and listen, and then,

 after reflection, speak and listen once more.” Packingham, 137 S. Ct. at 1735.

       Public.Resource.Org is dedicated to using the Internet to make the law

 available to all; to promote an accurate understanding; and to foster study,

 criticism, and debate. The First Amendment protects its right to do so.



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       B.     The Injunction Against Public.Resource.Org Injures the Public
              Interest in Due Process and the Rule of Law by Enforcing a
              Private Monopoly over Access to Laws and Regulations.
       Due process under the Fifth and Fourteenth Amendments requires

 meaningful public access to federal and state laws and regulations. As the First

 Circuit stated:

       [C]itizens must have free access to the laws which govern them.…
       [I]t is hard to see how the public’s essential due process right of free
       access to the law (including a necessary right freely to copy and
       circulate all or part of a given law for various purposes), can be
       reconciled with the exclusivity afforded a private copyright holder.…

 Bldg. Officials & Code Adm. v. Code Tech., Inc., 628 F.2d 730, 734, 736 (1st Cir.

 1980).

       Professor Fuller wrote:

       Even if only one man in a hundred takes the pains to inform himself
       concerning, say, the laws applicable to the practice of his calling, this is
       enough to justify the trouble taken to make the laws generally available.
       The citizen at least is entitled to know, and he cannot be identified in
       advance.… [I]f the laws are not made readily available, there is no check
       against a disregard of them by those charged with their application and
       enforcement. Finally, the great bulk of modern laws relate to specific forms
       of activity, such as carrying on particular professions or business; it is
       therefore quite immaterial that they are not known to the average citizen.
       The requirement that laws be published does not rest on…an expectation
       that the dutiful citizen will sit down and read them all.

 Lon L. Fuller, The Morality of Law 51 (rev. ed. 1969).

       “Rudimentary justice requires that those subject to the law must have a

 means of knowing what it prescribes.” Antonin Scalia, The Rule of Law as a Law

 of Rules, 56 U. Chi. L. Rev 1175, 1179 (1989). Indeed, one of the principal

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 historical events leading to the Federal Register Act (Pub. L. No. 74-220, ch. 417,

 49 Stat. 500-503 (July 26, 1935)) was a government action to enforce an

 administrative oil quota rule that, it turned out, did not exist. Oil Suit Dismissed

 in Supreme Court, N.Y. Times, Oct. 2, 1934, at 6; see also Erwin N. Griswold,

 Governance in Ignorance of the Law — A Plea for Better Publication of Executive

 Legislation, 48 Harv. L. Rev. 198 (1934) (arguing for creation of a federal

 register). The “basic principle of due process” is designed to protect citizens’

 autonomous choice “to steer between lawful and unlawful conduct,” to constrain

 law enforcement, and to prevent chilling First Amendment protected speech.

 Grayned v. City of Rockford, 408 U.S. 104, 108–09 (1972).

       This is no less important when a law has incorporated material by reference.

 “[R]egulatory beneficiaries of all sorts, as well as regulated entities, have a strong

 and direct interest in access to the content of regulatory standards—including

 [incorporated-by-reference] material—because it directly affects their interests and

 can potentially affect their conduct. Accordingly, if notice is to be effective, ready

 public access must be provided to anyone potentially affected by the law, not just

 to those who must comply.” Nina A Mendelson, Private Control over Access to

 Public Law: The Perplexing Federal Regulatory Use of Private Standards, 112

 Mich. L. Rev. 737, 771 (2014). The injunction in this case thwarts those rights,




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 and the public interest, by enforcing private parties’ claims of power to restrict that

 access.

 II.   The SDOs Cannot Control Dissemination of Laws and Regulations by
       Others Through a Copyright Statutory Monopoly.

       The decision below misapplied copyright law, making it incompatible with

 the First, Fifth, and Fourteenth Amendments.

       A.     Federal and State Laws and Regulations Are Not Subject to
              Copyright.
       Because the public must be able—without paying a toll or needing

 permission—to study, understand, and comment on the rules it lives by, no

 copyright exists in the law itself. This is true for federal, state, and local statutes

 and for regulations implementing those statutes. It is also true where, as is often

 the case, volunteers draft the text and a legislature or agency enacts it.

              1.       An unbroken line of case law holds copyright does not apply
                       to the law.

       The Supreme Court’s first copyright decision, Wheaton v. Peters, 33 U.S. (8

 Pet.) 591 (1834), established the principle that texts that constitute the law are in

 the public domain and cannot be under private control. In that case, one of the

 Court’s official reporters claimed copyright in his annotated collections of the

 Court’s opinions. The Court declared it was “unanimously of opinion that no

 reporter has or can have any copyright in the written opinions delivered by this

 Court.” Id. at 668.


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       In Banks v. Manchester, 128 U.S. 244 (1888), the Court rejected a similar

 copyright claim by a court reporter of the Ohio Supreme Court. “The whole work

 done by the judges constitutes the authentic exposition and interpretation of the

 law, which, binding every citizen, is free for publication to all, whether it is a

 declaration of unwritten law, or an interpretation of a constitution or a statute.” Id.

 at 253. In 1898, the Sixth Circuit observed that “any person desiring to publish

 the statutes of a state may use any copy of such statutes to be found in any printed

 book, whether such book be the property of the state or the property of an

 individual.” Howell v. Miller, 91 F. 129, 137 (6th Cir. 1898) (Harlan, J.).

       Decisions such as Banks “represent[] a continuous understanding that ‘the

 law,’ whether articulated in judicial opinions or legislative acts or ordinances, is in

 the public domain and thus not amenable to copyright.” Veeck v. S. Bldg. Code

 Cong. Int’l, Inc., 293 F.3d 791, 796 (5th Cir. 2002) (en banc). The U.S. Copyright

 Office practice adopts this fundamental principle with respect to all forms of law

 from all sources:

       As a matter of longstanding public policy, the U.S. Copyright Office
       will not register a government edict that has been issued by any state,
       local, or territorial government, including legislative enactments,
       judicial decisions, administrative rulings, public ordinances, or
       similar types of official legal materials. Likewise, the Office will not
       register a government edict issued by any foreign government.

 U.S. Copyright Office, Compendium of Copyright Office Practices § 313.6(c)(2)

 (3d ed. 2014) (emphasis added).


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       Exclusion of law from copyright does not depend on who funded creation

 of the law. Instead, the “authentic exposition and interpretation of the law,”

 because it is binding on every citizen, must be “free for publication to all.” Banks,

 128 U.S. at 254. Or, as the First Circuit put it nearly a century later: “The

 citizens are the authors of the law, and therefore its owners, regardless of who

 actually drafts the provisions, because the law derives its authority from the

 consent of the public, expressed through the democratic process.” Bldg. Officials,

 628 F.2d at 734.

                2.   The plain text of the Copyright Act reinforces this
                     understanding.
       The exclusion of the law from the copyright statutory monopoly long

 predates the 1976 Copyright Act, but the Act reinforces the principle. Section

 102(b) of the Act, 17 U.S.C. § 102(b), precludes copyright for “any idea,

 procedure, process, system, method of operation, concept, principle, or

 discovery, regardless of the form in which it is described, explained, illustrated,

 or embodied in such work.” As the Supreme Court recognized in Eldred v.

 Ashcroft, 537 U.S. 186, 219 (2003), the exclusion of ideas and facts from

 copyright protection is essential to balancing copyright and free speech

 protections.

       [C]opyright contains built-in First Amendment accommodations.
       First, it distinguishes between ideas and expression and makes only
       the latter eligible for copyright protection.… As we said in Harper &


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       Row [Publ’rs, Inc. v. Nation Enters., 471 U.S. 539 (1985)], this
       “idea/expression dichotomy strike[s] a definitional balance between
       the First Amendment and the Copyright Act by permitting free
       communication of facts while still protecting an author’s expression.”
       471 U.S., at 556 (internal quotation marks omitted). Due to this
       distinction, every idea, theory, and fact in a copyrighted work
       becomes instantly available for public exploitation at the moment of
       publication. See Feist [Pubs., Inc. v. Rural Tel. Serv. Co., Inc., 499
       U.S. 340, at 349-50 (1991)].

 Eldred v. Ashcroft, 537 U.S. 186, 219 (2003); see also Golan v. Holder, 132 S. Ct.

 873, 889-91 (2012).

       Law falls easily on the “idea” side of this dichotomy. It is a “system of

 rules that a particular country or community recognizes as regulating the actions

 of its members and may enforce by the imposition of penalties.” See “Law,”

 Oxford English Dictionary, available at https://www.oxforddictionaries.com

 (emphasis added). A “principle” is: “1a: a comprehensive and fundamental law,

 doctrine, or assumption; 1b(1): a rule of code of conduct.…” Merriam Webster

 Ninth New Collegiate Dictionary (1989). The law itself as a system, and

 particular laws as principles, are expressly outside the scope of copyright.

 17 U.S.C. § 102(b). See generally L. Ray Patterson & Craig Joyce,

 Monopolizing the Law: the Scope of Copyright Protection for Law Reports and

 Statutory Compilations, 36 UCLA L. Rev. 719, 777 (1999).7


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   Section 105 of the Copyright Act, 17 U.S.C. § 105, denies copyright for any work
 of the U.S. Government and reflects a related principle. While laws and
 regulations are a subset of U.S. Government works, section 105 recognizes that

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       B.     Laws and Regulations Incorporated by Reference Are No
              Different from Other Laws.
       The exclusion of all laws and regulations from the private copyright

 monopoly does not vary by their mode of enactment.

              1.    Incorporated standards are government edicts that fall
                    outside copyright.
       As the Fifth Circuit concluded in Veeck, once a government turns a standard

 into law, the people become its owner no matter who originally drafted it. That

 case arose because Veeck, operating an informational website about north Texas,

 posted online model building codes that two Texas towns had adopted by

 reference. 293 F.3d at 793. The SDO that developed the codes sued for copyright

 infringement. Sitting en banc, the Fifth Circuit rejected the claim:

       The very process of lawmaking demands and incorporates
       contributions by “the people,” in an infinite variety of individual and
       organizational capacities. Even when a governmental body
       consciously decides to enact proposed model building codes, it does
       so based on various legislative considerations, the sum of which
       produce its version of “the law.” In performing their function, the
       lawmakers represent the public will, and the public are the final
       “authors” of the law.… [P]ublic ownership of the law means
       precisely that “the law” is in the “public domain” for whatever use the
       citizens choose to make of it. Citizens may reproduce copies of the


 that the operating documents of a democratic government are in the public
 domain. Section 105 applies to all U.S. Government documents beyond laws, such
 as NASA photographs or FTC consumer guides. The government-edicts exclusion
 applies to all edicts of governments at all levels, foreign and domestic, not just
 U.S. Government edicts. Because this case involves federal, state, and municipal
 laws, Public.Resource.Org relies on the broader government-edicts exclusion as
 well as the other copyright doctrines it addresses.

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       law for many purposes, not only to guide their actions but to influence
       future legislation, educate their neighborhood association, or simply
       to amuse.

 293 F.3d at 799.

       The Fifth Circuit’s reasoning in Veeck echoes that of the First Circuit in

 Bldg. Officials. In Bldg. Officials, the First Circuit vacated a preliminary

 injunction for the creator of a model building code that Massachusetts had

 adopted. 628 F.2d at 731. The court remanded, explicitly recognizing the due

 process implications in the copyright context. Id. at 734, 736 (quoted above

 at 22-23).

       The federal government began incorporating regulations by reference to

 limit the bulk of the CFR. That goal, however laudable in the past, is essentially

 irrelevant in the age of the Internet, where an electronic CFR could easily

 accommodate the text of incorporated materials, whether included directly in the

 text or hyperlinked. Nor does that goal justify private control over regulations that

 bind the public. As much as landmark healthcare acts or Supreme Court civil-

 rights decisions, the standards at issue here are legal rules. That is why, as the

 AERA Plaintiffs admit, people “believe they still may be held accountable” to

 them. JA2212-13(AERA-Dkt-60-1 at 1, 11).

       Indeed, creating a special exception for laws drafted by private parties and

 incorporated by reference would lead easily to absurd results. Many legislative



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 bills originate with private parties that author them and then seek legislative

 approval. See Victoria F. Nourse & Jane S. Schachter, The Politics of Legislative

 Drafting: a Congressional Case Study, 77 N.Y.U. L. Rev. 575, 583 (2002)

 (lobbyists as external drafters of legislation); K. Kindy, In Trump era, lobbyists

 boldly take credit for writing a bill to protect their industry, Washington Post

 (July 31, 2017).8 As the Solicitor General stated in opposing certiorari in Veeck, if

 copyright protection for standards were accepted, “there would be ‘no outer limit

 on claims of copyright prerogatives by nongovernmental persons who contribute

 to writing “the law” such as lobbyists or law professors. An individual who

 drafted a statute or amendment later adopted by Congress could claim copyright

 in the text.’” Brief for the United States as Amicus Curiae at 15, quoting Veeck,

 293 F.3d at 799.9

       To take a concrete example, if a government adopts a model bill from a

 private entity such as the American Legislative Exchange Council, no one would

 think ALEC could charge copyright royalties for public display of that law. There

 is no meaningful difference between that adoption process and incorporation by



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   Available at https://www.washingtonpost.com/powerpost/in-trump-era-lobbyists-
 boldly-take-credit-for-writing-a-bill-to-protect-their-
 industry/2017/07/31/eb299a7c-5c34-11e7-9fc6-c7ef4bc58d13_story.html.
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   Available at
 https://www.justice.gov/sites/default/files/osg/briefs/2002/01/01/2002-
 0355.pet.ami.inv.pdf.

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 reference; in both cases a private monopoly cannot rightly restrict, or impose a toll

 on, expressions of the law.

       To be clear, “copyrighted works do not ‘become law’ merely because a

 statute refers to them.” See Veeck, 293 F.3d at 805 (citing 1 Goldstein on

 Copyright § 2.49 n.45.2). This case involves no mere citations to reference

 works. Instead, governments have expressly adopted the documents at issue as

 binding laws through incorporation by reference. See JA1877-1881(ASTM-Dkt-

 122-9 at 84-88) (Office of Federal Register: material incorporated by reference

 has force and effect of law); Myers, 553 F.3d at 331 (material incorporated by

 reference has same force of law as incorporating regulation).

              2.    The contents and language of incorporated laws and
                    regulations are also uncopyrightable facts.
       The Fifth Circuit in Veeck observed that, once adopted into law, “codes are

 ‘facts’ under copyright law. They are the unique, unalterable expression of the

 ‘idea’ that constitutes local law.” 293 F.3d at 801. In other words, by virtue of

 government action, the idea and the expression have merged. And “[w]hen there is

 essentially only one way to express an idea, the idea and expression are

 inseparable, and copyright is no bar to copying that expression.” Concrete Mach.

 Co. v. Classic Lawn Ornaments, Inc., 843 F.2d 600, 606 (1st Cir. 1988). The Fifth

 Circuit also expressly rejected the notion that some laws might be “less factual”

 than others: “It should be obvious that for copyright purposes, laws are ‘facts’: the


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 U.S. Constitution is a fact; the Federal Tax Code and its regulations are facts; the

 Texas Uniform Commercial Code is a fact. Surely, in principle, the building codes

 of rural Texas hamlets are no less ‘facts’ than the products of more august

 legislative or regulatory bodies.” Veeck, 293 F.3d at 801.

       Similarly, documents that embody government determinations, even ones

 that private parties designed and proposed, are facts not subject to copyright. In

 Kern River Gas Transmission Co. v. Coastal Corp., 899 F.2d 1458 (5th Cir.

 1990), the plaintiff took a United States Geographical Survey topographical map

 and marked it to indicate where it proposed to locate a pipeline. The Federal

 Energy Regulatory Commission approved the route. The defendant then copied

 the marked map to prepare a competing bid. The court concluded that “the idea of

 the location of the pipeline and its expression embodied in [the map] are

 inseparable and not subject to protection.” Id. at 1463–64. “To extend protection

 to the lines would be to grant Kern River a monopoly of the idea for locating a

 proposed pipeline in the chosen corridor, a foreclosure of competition that

 Congress could not have intended to sanction through copyright law.” Id.

       As in Kern, in this case, after the initial creation, government officials gave

 legal effect to the SDOs’ documents. At the point of incorporation into law, the

 idea or fact (the law) and the expression (the documents that governments




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 incorporated by reference) became inseparable and therefore not subject to

 copyright.

       C.     The District Court Created an Unnecessary Constitutional
              Conflict by Its Misapplication of Copyright Law.
       The district court’s opinion misapplied the Copyright Act and related

 doctrines, creating an unnecessary conflict between the Copyright Act on one hand

 and the First, Fifth, and Fourteenth Amendments on the other. First, the district

 court focused solely on the right of others to access the standards, ignoring

 Public.Resource.Org’s right to recite and disseminate the law free of the copyright

 monopoly. It is no answer to an improper injunction against a newspaper or legal

 reporter to say that the public can get its news or laws elsewhere.

 Public.Resource.Org has its own right to recite and disseminate the law in its

 unique way, adapting its presentation of the law so that it is text-searchable,

 accessible to the visually impaired, and amenable to large-scale data analysis.

       Second, the district court erroneously relied on CCC Info. Servs., Inc. v.

 Maclean Hunter Mkt. Reports, Inc., 44 F.3d 61, 74 (2d Cir. 1994), Cty. Of Suffolk

 v. First Am. Real Estate Sols., 261 F.3d 179 (2d Cir. 2001), and Practice Mgmt.

 Info. Corp. v. Am. Med. Ass'n, 121 F.3d 516 (9th Cir. 1997), for the proposition

 that due process constitutional concerns do not trump copyright. JA2082-

 2085(ASTM-Dkt-175 at 24-27). But those cases, unlike Veeck, did not involve

 government edicts. Instead, they “‘involved compilations of data that had


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 received governmental approval, not content that had been enacted into positive

 law’.” Veeck, 293 F.3d at 805 (citing 1 Goldstein on Copyright § 2.49 n.45.2).

       In CCC, the defendant argued that the Red Book, an automobile valuation

 reference, was in the public domain because state insurance regulations included it

 as one possible basis for valuing total losses. 44 F.3d at 73. The Red Book was

 neither a government edict nor a set of rules; it was simply one of several

 approved references. See id. and n.29; cf. N.J. Admin. Code 11:3-10.4 (1988);

 11 N.Y. Admin. Code § 216.7(c) (1990) (both available at 1995 WL 17047923 at

 71a-75a).

       Practice Management also presented different circumstances. In that case,

 the American Medical Association (“AMA”) had created and copyrighted tables

 of code numbers with matching descriptions of medical procedures, the

 Physician’s Current Procedural Terminology (“CPT”), for physicians to report

 their services. Practice Mgmt., 121 F.3d at 517. The AMA granted the federal

 Health Care Financing Administration (“HCFA”) a non-exclusive, royalty-free

 license to use the CPT in exchange for HFCA’s promise that it would not use any

 other set of code numbers. Id. at 517–18. HCFA later created its own coding

 system for Medicare and Medicaid claims, the HCFA common procedure coding

 system (“HCPCS”), that included the AMA code numbers but added new




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 information that HFCA developed. See Veeck, 293 F.3d at 805 (citing 50 Fed.

 Reg. 40895, 40897).

       Practice Management, a publisher of medical books, asked the AMA for a

 discount to use the AMA’s code numbers (not the government’s HCPCS system).

 When the AMA refused, Practice Management sought a declaratory judgment that

 AMA’s copyright was unenforceable. Practice Mgmt., 121 F.3d at 518. On those

 facts, the Ninth Circuit concluded that the AMA’s copyright in the CPT coding

 lists was, in theory, enforceable against Practice Management. Id. at 520–21.

 (Nevertheless, the court ultimately refused to enforce that copyright, concluding

 that AMA had misused its copyright by forcing HCFA’s agreement not to adopt

 any coding system besides CPT. Id. at 521.)

       The issues here are very different. The plaintiff in Practice Management

 did not seek to publish the government’s own document (the HCPCS). As the

 Fifth Circuit noted in Veeck:

       [U]nlike Veeck, Practice Management Information Corporation, a
       commercial publisher of medical textbooks, was not trying to publish
       its own version of the HCPCS. Practice Management desired to sell a
       cheaper edition of the AMA’s code, which was also used by insurance
       companies and had other non-governmental uses. It is not clear how
       the Ninth Circuit would have decided the case if Practice
       Management had published a copy of the HCPCS.

 293 F.3d at 805 (emphasis added). In other words, what had become the law was

 quite different from the original coding lists; it appeared that the plaintiff was



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 interested only in publishing only the AMA’s lists, not the law. In this case, as in

 Veeck, Public.Resource.Org wishes to post online only what has been expressly

 adopted as law.

       Moreover, in contrast to the coding lists at issue in Practice Management,

 the standards here read and function as rules and principles. In Practice

 Management the medical codes were never themselves law, even if regulations

 required persons to refer to the codes. Here, as with the text of the model building

 code in Veeck, the incorporated standards are part of the law itself.

       Third, the district court wrongly treated the public’s due process interests in

 access to the laws as a mere “policy judgment” of Congress, citing federal

 regulations specifying minimum access as expressing that policy judgment. The

 district court thus deflected the constitutional importance of access to the law.

 Moreover, federal regulations specifying minimum access to federal materials

 have no bearing on the many state and municipal laws and regulations that

 incorporate standards by reference.

       Fourth, the district court erroneously assumed that existing access was

 sufficient. JA2080(ASTM-Dkt-175 at 22). That assumption is plainly

 inconsistent with the SDOs’ own statements. They have repeatedly emphasized

 that they should be able to control access to the standards at issue, including the

 right not to make them available at all. JA2189, JA2190(AERA-Dkt-14 ¶¶ 14,



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 19); JA2925(AERA-Dkt-68-7 at 23). For example, one plaintiff discontinued

 sales of its standards in order to stimulate sales of a later edition that had not yet

 been incorporated into law. JA2213(AERA-Dkt-60-1 at 11). As an apparent

 strategic move in this litigation, it later resumed sales of the earlier edition in a

 cursory fashion. But it still claims the power to suppress access to the standards

 in its discretion. Indeed, it is likely to do so as soon as this litigation ends,

 considering its statements that the mere availability of the 1999 Standards is

 dangerous because they are “outdated.” Furthermore, SDOs that offer some

 incorporated standards in online reading rooms impose undue restrictions and

 barriers. Congress cannot, and did not, authorize such barriers as a simple “policy

 judgment.” Cf. JA2082(ASTM-Dkt-175 at 24).

        Fifth, the district court also construed the exclusions from copyright in

 Section 102(b) incorrectly, suggesting that if Congress had wished to treat laws

 incorporated by reference as uncopyrightable, it could have done so explicitly in

 that section when it drafted the 1976 Copyright Act. That theory assumes anyone

 believed laws were copyrightable to begin with, or that Congress had any

 particular intention about laws incorporated by reference. Since Wheaton v.

 Peters, law itself had been outside copyright. Moreover, because laws are

 themselves facts, law already falls squarely within the Section 102(b) exclusions

 from copyright and within the merger doctrine that courts apply in construing the



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 exclusions. Section 102(b) helps ensure that “courts do not unwittingly grant

 protection to an idea by granting exclusive rights in the only, or one of only a few,

 means of expressing that idea.” R.W. Beck, Inc. v. E3 Consulting, 577 F.3d 1133,

 1145 (10th Cir. 2009) (citation omitted). This is the only way to express a law,

 including a law incorporated by reference: using the language of the law itself.

        The district court’s errors created a needless conflict between copyright

  and the Constitution. Allowing private organizations to own exclusive rights to

  the law, through the guise of copyright, would necessarily mean that those

  copyright claimants could dictate the terms of public speech and access to the

  law, without regard for the public’s First Amendment and due process rights. If

  the district court is correct that Congress authorized private ownership of the law,

  that authorization violated the Constitution and cannot stand. Copyright, while

  authorized by the Constitution, is a statutory right. Silvers v. Sony Pictures

  Entm’t, Inc., 402 F.3d 881, 883–84 (9th Cir. 2005). It cannot trump fundamental

  constitutional rights.

       But there is no need for this conflict. Properly interpreted, Section 102(b)

 and the related merger and “government edicts” doctrines—individually or

 together—avoid this constitutional tension.




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 III.   Public.Resource.Org’s Dissemination of Laws and Regulations Is a Fair
        Use of the SDO Standards Documents.
        Even if the SDOs retain enforceable rights over their standards,

 Public.Resource.Org’s posting of standards documents as part of a free, non-profit

 archive of federal and state laws is a non-infringing fair use as a matter of law. At

 the very least, Public.Resource.Org presented genuine issues of material fact that

 should have precluded summary judgment. Moreover, because the district court’s

 erroneous fair use ruling relied in part upon evidence it should have excluded, if

 this Court remands it should first reverse the district court’s wrongful admission

 of expert testimony, particularly testimony that merely relayed the subjective

 opinions of the SDOs themselves.10



 10
   The ASTM Plaintiffs’ purported expert, John Jarosz, had no experience relating
 to standards development. JA1882(ASTM-Dkt-124-3); JA409(ASTM-Dkt-118-
 12) (expert report). His opinion that Public.Resource.Org’s activities would cause
 harm to the market for the SDOs’ standards admittedly rested almost entirely on
 the opinions of the SDOs’ executives. Id. His testimony was therefore “nothing
 more than advocacy from the witness stand.” See Sundance, Inc. v. DeMonte
 Fabricating Ltd., 550 F.3d 1356, 1363-64 (Fed. Cir. 2008). Similarly, the AERA
 Plaintiffs’ expert Kurt Geisinger had experience in educational psychology and
 psychometrics, but he had no qualifications as an economist. Therefore he was not
 qualified to opine about the microeconomics of the standards publications
 marketplace. (He had not reviewed the sales figures before his expert report, and
 his declaration supporting summary judgment relied upon new matter he had not
 previously disclosed.) Moreover, his speculative conclusion that the AERA
 Plaintiffs would cease updating standards as a result of an adverse decision in this
 case rested solely on self-serving opinions of the AERA Plaintiffs’ executives and
 unreliable assumptions about future conduct. JA2744-2893(AERA-Dkt-67
 through 67-18); JA2696(AERA-Dkt-60-88) (expert report).

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        As the Supreme Court has stated, “the ‘fair use’ defense allows the public

 to use not only facts and ideas contained in a copyrighted work, but also

 expression itself in certain circumstances.” Eldred, 537 U.S. at 219. “From the

 infancy of copyright protection, some opportunity for fair use of copyrighted

 materials has been thought necessary to fulfill copyright’s very purpose, [t]o

 promote the Progress of Science and useful Arts.…’ U.S. Const., Art. I, § 8, cl.

 8.” Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569, 575 (1994). The fair-use

 doctrine is one of copyright law’s “built-in First Amendment accommodations.”

 Eldred, 537 U.S. at 219; see also Golan, 565 U.S. at 328-29.

        Congress entrusted fair use determinations to courts on a case-by-case basis

 with four nonexclusive statutory fair-use factors. 17 U.S.C. § 107.

 Determinations require “a consideration of all the evidence in the case,” Mathews

 Conveyer Co v. Palmer-Bee Co., 135 F.2d 73, 85 (6th Cir. 1943), and are “not to

 be simplified with bright-line rules.” Campbell, 510 U.S. at 577.

        A.     Public.Resource.Org’s Purpose Is to Provide the Public with Free
               Access to the Laws and Regulations That Govern It.
        The first statutory factor considers “the purpose and character of the use,

 including whether such use is of a commercial nature or is for nonprofit

 educational purposes,” and the preamble to section 107 identifies purposes that are

 characteristic of fair use.




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       Public.Resource.Org’s use fits all the preamble’s characteristic purposes.

 Public.Resource.Org presents laws and regulations in their entirety as a public

 archive for “criticism, comment, news reporting, teaching,…scholarship, and

 research.” 17 U.S.C. § 107. There is no better way to teach the law to the public

 than to provide the public with the law. Paraphrases, summaries, and descriptions

 do not capture the precision that is necessary to understand the legal obligations

 that governments impose and enforce.

       Public.Resource.Org’s use of standards to display and disseminate laws and

 regulations is noncommercial. Public.Resource.Org is a non-profit corporation

 depending entirely on donations and grants. It does not charge any fees to users.

       Given these facts, the district court’s conclusion that Public.Resource.Org’s

 use “bears ‘commercial’ elements” and thus “weigh[s] firmly against fair use”

 was wrong as a matter of law and ignored substantial contrary evidence.

 JA2092(ASTM-Dkt-175 at 34). The court’s sole stated basis was that

 Public.Resource.Org posts “identical standards online in the same consumer

 market.” Id. But that rationale is contrary to overwhelming precedent. To take

 just a few examples, the defendants in Lexmark Int’l, Inc. v. Static Control

 Components, Inc., 387 F.3d 522, 544 (6th Cir. 2004); Spurlock, 645 F. Supp. 2d at

 420; Hustler Magazine, Inc. v. Moral Majority, Inc., 606 F. Supp. 1526, 1535

 (C.D. Cal. 1985), aff’d, 796 F.2d 1148 (9th Cir. 1986); Righthaven, LLC v. Jama,



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 No. 2:10–CV–1322 JCM (LRL), 2011 WL 1541613, at *3 (D. Nev. April 22,

 2011); Swatch Grp. Mgmt. Svcs. Inc. v. Bloomberg L.P., 756 F.3d 73, 77-78 (2d

 Cir. 2014); and Online Policy Grp. v. Diebold, Inc., 337 F. Supp. 2d 1195, 1197-

 98 (N.D. Cal. 2004), all made others’ entire works available to a broad public, and

 all of those uses were ruled fair.

       In any event, commercial use does not weigh heavily against fair use: as

 the Supreme Court has stated, nearly all of the characteristic fair use purposes in

 the preamble of Section 107 are generally for profit. See Campbell, 510 U.S. at

 584. Cases affirming summary judgment for commercial defendants on fair use

 include Campbell, 510 U.S. at 573 (defendants sold over 250,000 sound

 recordings), and Blanch v. Koons, 467 F.3d 244 (2d Cir. 2006) (artwork sold for

 over $1 million). Public.Resource.Org’s mission, and its use of the standards, are

 far less “commercial” than these adjudicated fair uses. See also Hustler

 Magazine, Inc., 606 F. Supp. at 1534, aff'd, 796 F.2d 1148 (9th Cir. 1986);

 Righthaven, 2011 WL 1541613, at *3; Warren Pub. Co. v. Spurlock, 645 F. Supp.

 2d 402, 420 (E.D. Pa. 2009).

       Public.Resource.Org’s dissemination of laws and regulations is also

 transformative. A “transformative” use “adds something new, with a further

 purpose or different character, altering the first with new expression, meaning, or

 message.” Campbell, 510 U.S. at 578. A use with a new “intrinsic purpose,”



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 serving an “entirely different function,” is a transformative use. Hustler

 Magazine, Inc., 606 F. Supp. at 1535; see also Perfect 10, Inc. v. Amazon.com,

 Inc., 508 F.3d 1146, 1165 (9th Cir. 2007) (transformative use of images from the

 Web in Google Image Search); Bill Graham Archives v. Dorling Kindersley Ltd.,

 448 F.3d 605, 609-11 (2d Cir. 2006) (reproductions of posters in book about the

 Grateful Dead).

       The SDOs’ stated purpose for developing standards is to establish uniform

 practices in their various industries. In contrast, Public.Resource.Org posts

 legally incorporated standards as part of an effort to make the entirety of current

 and historical U.S. law accessible on the Internet, not merely to read but to

 analyze, excerpt, and share. No other broadly accessible archive of all standards

 incorporated by reference into federal law exists. The writings on

 Public.Resource.Org’s website, along with the advocacy of its founder, Carl

 Malamud, explain its context as a unique tool for legal and policy research. Just

 as including full-size color reproductions of magazine cover art in a published

 book achieves a transformative purpose when combined with “a history of the

 artist and plac[ing] his work into some context,” Public.Resource.Org’s re-

 purposing of the standards into a legal archive with context is a transformative

 use. See Warren Pub. Co., 645 F. Supp. 2d at 421.




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       Public.Resource.Org further transformed the standards by adding HTML

 codes, MML descriptions of formulas, and vector graphic representations of

 diagrams. JA1635-1647(ASTM-Dkt-122-6 at 139-151); JA3121-3129(AERA-

 Dkt-70-50 at 8-16). These enable the public to interact with the texts through

 word searches, annotations, copy/paste functions, computer-aided analysis, and

 compatibility with text-to-speech technologies.

       These transformations also enabled visually disabled persons to access the

 standards through screen-reading software and other assistive technologies. Id.

 Neither print versions of the standards nor the ASTM Plaintiffs’ online “reading

 rooms” enable this. Id. Providing access for people with disabilities is another

 purpose that favors fair use. Authors Guild, Inc. v. HathiTrust, 755 F.3d 87, 103

 (2d Cir. 2014).

       Moreover, Public.Resource.Org’s use of legally enacted standards as laws

 does not depend on those documents’ creativity or technical merit as industry

 standards or best practices. As part of Public.Resource.Org’s legal archive, the

 standards at issue were transformed “from [items] of expressive content to

 evidence of the facts within [them]” rendering the expressive content “merely

 incidental.” Am. Inst. of Physics v. Winstead PC, No. 3:12–CV–1230–M, 2013

 WL 6242843, at *5 (N.D. Tex. Dec. 3, 2013) (use of technical articles in patent

 proceeding was fair use); see also Lexmark, 387 F.3d at 544 (no use “for its



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 commercial value as a copyrighted work”); Bill Graham Archives, 448 F.3d at

 608–09 (use of poster images as “historical artifacts” was transformative); Bond v.

 Blum, 317 F.3d 385, 394–98 (4th Cir. 2003) (use of manuscript in child-custody

 proceeding as evidence of admissions was transformative).

       Put another way, Public.Resource.Org did not post the standards at issue for

 their technical merit, for their creativity, or even for their effectiveness at

 promoting safety or uniformity. Instead, Public.Resource.Org selected them

 because governments had made them into law. Someone researching current best

 practices in designing buildings, consumer products, or standardized tests will not

 seek out Public.Resource.Org’s website, because the overwhelming majority of

 standards incorporated into law have been superseded as private standards by

 later editions, while older versions remain binding law.

       B.     Public.Resource.Org Displays the SDOs’ Documents for Their
              Factual Status as Laws and Regulations.
       The second fair use factor, the nature of the copyrighted work, recognizes

 that “some works are closer to the core of intended copyright protection than

 others.” Campbell, 510 U.S. at 586. The holdings of Wheaton and Banks suggest

 that few things are further from the core of intended copyright protection than

 laws and other government edicts.




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       “The law generally recognizes a greater need to disseminate factual works

 than works of fiction or fantasy.” Harper & Row, 471 U.S. at 563. The precise

 wording of each standard incorporated into law is itself a legal fact.

       C.     Public.Resource.Org’s Purpose Required the Posting of the
              Complete Documents That Became Laws and Regulations.
       The third statutory factor, the amount and substantiality of the portion used,

 favors fair use where the amount of the original work used is “reasonable in

 relation to the purpose of the copying.” Authors Guild, 804 F.3d at 221. The

 reproduction of entire works is fair use when it reasonably fulfills the user’s

 purpose. See, e.g., Sony Corp. of Am. v. Universal City Studios, Inc., 464 U.S.

 417, 449-50 (1984) (recording of entire television programs for time-shifting);

 Lexmark, 387 F.3d at 544 (reproduction of entire computer program for printer

 compatibility); Swatch Grp. Mgmt. Servs. Ltd., 756 F.3d at 90 (reproduction and

 dissemination of entire press-conference recordings).

       As Public.Resource.Org’s purpose is to create a thorough and accurate

 archive of federal law, it was both reasonable and necessary to post the entire

 incorporated standards. Posting less would thwart Public.Resource.Org’s goal

 and could mislead users who seek complete regulations. See Righthaven, LLC v.

 Jama, No. 2:10–CV–1322 JCM (LRL), 2011 WL 1541613, at *3 (D. Nev. April

 22, 2011) (fair use where impracticable to use less of original); see also Spurlock,




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 645 F. Supp. 2d at 418 (reproduction “virtually the same size as the original” was

 fair use).

        D.    There Is No Likely Harm to the Potential Market for, or Value of,
              the SDOs’ Standards as Copyrighted Works.
        The fourth factor, the effect of the use on the potential market for or value

 of the copyrighted work, concerns only “harm cognizable under the Copyright

 Act.” Campbell, 510 U.S. at 592. When a use is transformative, “market harm

 may not be so readily inferred.” Id. at 591. Thus the market harm caused by “a

 lethal parody” that “kills demand for the original” does not weigh against fair use.

 Id. Nor does copying of software code to create a competing platform for playing

 video games, despite causing “some economic loss.” Sony Computer Entm't, Inc.

 v. Connectix Corp., 203 F.3d 596, 607–08 (9th Cir. 2000). Instead, courts look to

 whether a person seeks to “profit from exploitation of the copyrighted material

 without paying the customary price.” Harper & Row, 471 U.S. at 562.

        Public.Resource.Org has caused no cognizable harm. First, copyright law

 does not protect a market for authors to limit or impose tolls on public access to

 the law. The customary price for the legal right to reproduce, disseminate, and

 provide access to the law is zero.

        In addition, because nearly all of the standards at issue in this case are out

 of date as industry standards (even though they are current or historical laws),

 their traditional commercial value is minimal. For example, sales of the 1999


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 Standards for Educational and Psychological Testing fell off dramatically when

 the AERA Plaintiffs announced the 2014 edition (which is not at issue here

 because it is not law). This helps explain why, despite Public.Resource.Org’s use

 of the standards over a period of years, the record in this case reveals no harm to

 the SDOs’ revenues.

       On the fourth factor, the district court compounded its erroneous first-factor

 analysis by concluding that, if Public.Resource.Org’s purpose was “commercial”

 (which it is not), “a harm to the potential market for the copyrighted works may

 be inferred.” JA2097(ASTM-Dkt-175 at 39). Dismissing the evidence that no

 actual harm has occurred during the years of Public.Resource.Org’s project, and

 ignoring the transformative nature of Public.Resource.Org’s use, the district court

 improperly allowed its “commercial purpose” label to become a conclusive

 presumption against fair use, overriding the other factors. Campbell forbids this.

 510 U.S. at 590-91.

 IV.   Many Standards May Be U.S. Government Works, Requiring Remand
       If the Court Does Not Reverse on the Other Copyright Grounds.

       After serious faults in the SDOs’ copyright ownership claims came to light

 during discovery, the SDOs shifted their arguments to claim they are joint authors

 with the thousands of volunteers who actually wrote the standards at issue—in

 stark contrast to (1) copyright registrations claiming the works were made for hire

 with the SDOs as sole authors; (2) the SDOs’ initial claims of ownership based on


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 assignments; and (3) documents in which volunteers expressly disclaimed “joint

 author” status. See above at 11-12.

       The SDOs’ final stand on ownership introduced a new complication that the

 district court failed to address: many volunteers were federal employees. Under

 17 U.S.C. § 105, U.S. Government works are outside the scope of copyright

 protection and works that federal employees co-authored within their

 employment, or at the very least their specific contributions, may be U.S.

 Government works. See 17 U.S.C. §§ 101 (definition of “joint works”), 105 (no

 copyright in U.S. government works), 201(a) (authors of joint works are co-

 owners). By ASTM’s calculation in 2012, for example, “[o]ver 1,400 individuals

 from federal agencies [were] actively engaged in 90 percent of [ASTM] standards

 writing technical committees.” JA1033(ASTM-Dkt-120-9 at 2); see also

 JA1499(ASTM-Dkt-122-3 at 12) (“1000 units of U.S. Government participation

 in ASTM”). The record is similarly unclear for the AERA plaintiffs.11


 11
   Evidently to prepare for this lawsuit they amended their original federal
 registration of the 1999 Standards 14 years after publication to claim joint
 authorship among those three plaintiffs of a “work made for hire.” JA3078(AERA-
 Dkt-70-10); JA3038(AERA-Dkt-68-28); JA2910(AERA-Dkt-68-7 at 8). But it
 was not until after amending their registration they obtained their first “work made
 for hire/assignment” document from someone who participated in the development
 of the 1999 Standards. See JA2990(AERA-Dkt-68-12); JA2993-3034(AERA-Dkt-
 68-14 to AERA-Dkt-68-26). And they never sought nor obtained assignments
 from hundreds of other participants in the development of the 1999 Standards,
 including the many federal employees and agencies they acknowledge helped
 develop them. See JA2912-2913(AERA-Dkt-68-7 at 10-11). As

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       The district court did not scrutinize the SDOs’ “joint author” arguments,

 nor did it analyze how joint participation by numerous U.S. government

 volunteers affected copyright. Instead, the court treated the SDOs’ admittedly

 incorrect copyright registrations as conclusive proof of ownership.

       Even if the Court affirms the decision below on all other issues, it should

 vacate and remand to the district court to analyze the ownership issues,

 particularly the U.S. government participation in creating all the works.

 V.    The ASTM Plaintiffs Cannot Properly Use Trademark Law to Restrict
       Public.Resource.Org’s Display and Dissemination of Laws and
       Regulations.

       The Supreme Court in Dastar rejected an attempt to use trademark law to

 circumvent the limitations of the Copyright Act. This Court should do the same.

 The district court also wrongly treated the appearance of the names and logos on

 the documents that Public.Resource.Org reproduced as a “trademark use” of the

 ASTM Plaintiffs’ names and logos. Finally, the district court mistakenly

 conflated different circuits’ varying nominative fair use standards.




 Public.Resource.Org pointed out at the summary judgment hearing, because the
 SDOs changed ownership theories during the case, the record below is a mess
 regarding the extent of federal government employee participation in authoring the
 standards. JA3358-59(100:14-101:9).

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       A.     Dastar Precludes the ASTM Plaintiffs’ Trademark Claims.
       In Dastar, the Supreme Court drew a line between trademark and copyright

 protection to avoid instances where a party claims trademark rights to prevent

 expression that is permissible under copyright law. Otherwise, someone could

 defeat statutory and constitutional limitations on copyright law by including a

 trademark within a work, giving the work indefinitely long protection and

 “creat[ing] a species of mutant copyright law.” 539 U.S. at 34. The Supreme

 Court defined “origin of goods” in the Lanham Act to “refer[] to the producer of

 the tangible goods that are offered for sale, and not the author of any idea,

 concept, or communication embodied in those goods.” Id. at 37. In other words,

 the Lanham Act protects against misleading consumers about the origin of goods,

 but it does not protect against confusion over the source of content. In Dastar,

 because the defendant made “arguably minimal” changes to works before

 distributing them under its own name, there was no Lanham Act violation. Id. at

 31, 37.

       Both the Seventh and Ninth Circuits have agreed that under Dastar a

 plaintiff cannot recover for trademark claims where the core of the injury is the

 reproduction of material (ordinarily the province of copyright law), even if

 trademarks appear as part of that material and the product at issue is identical to

 that sold by the plaintiff. Phx. Entm’t Partners v. Rumsey, 829 F.3d 817, 828 (7th



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 Cir. 2016); Slep-Tone Entm’t Corp. v. Wired for Sound Karaoke and DJ Services,

 LLC, 845 F.3d 1246, 1249 (9th Cir. 2017).

       Here, Public.Resource.Org creates cover pages to the standards at issue,

 emblazoned with seals indicating that the items replicate the contents of the

 standards but significantly improve their accessibility and format. The SDOs do

 not dispute that Public.Resource.Org makes those changes to the underlying

 documents. Public.Resource.Org is therefore the source of the “goods” in

 question, even if it is not the source of the underlying works.

       In short, the ASTM Plaintiffs claim that Public.Resource.Org has wrongly

 exploited their communicative works in its conduct, not that Public.Resource.Org

 has wrongly branded or advertised its own products or services. That type of

 claim is precisely what Dastar precludes, and this case is very similar to a case in

 which the Seventh Circuit, relying on Dastar, said that a defendant could freely

 exhibit a film “without fear of committing trademark infringement simply because

 [the production studio’s] registered trademark will be displayed when the film is

 played.” See Phx. Entm’t Partners, 829 F.3d at 829-30.

       B.     Public.Resource.Org’s Use of the ASTM Plaintiffs’ Names and
              Marks Was Not a Trademark Use and, Even If It Were, It Would
              Be Non-infringing or Fair.
       The names of the ASTM Plaintiffs appear in the standards that they publish.

 One cannot refer to the standard ASTM A285-78 without printing “ASTM”.



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 Indeed, that is precisely how it appeared when the federal government

 incorporated it into law at 49 C.F.R. § 171.7 (2009). The same is true for

 ASHRAE and NFPA.

        Similarly, the specific documents that governments incorporated into law

 have names and logos of the ASTM plaintiffs in them. Language of incorporation

 by reference typically refers to an entire document. Moreover, it is often

 impossible to remove names without distorting the standards, because standards

 use the names to reference other standards. Public.Resource.Org posted versions

 of these standards with the logos intact to avoid making any intentional changes

 from the content of the law; any changes like OCR, retyping into HTML, and

 converting images into vector graphics assist with accessibility and do not alter

 the content itself.12


 12
   The SDOs have argued that a relatively small number of alleged errors in
 Public.Resource.Org’s scans or optical character recognition are important as
 reflecting badly on the SDOs’ products; they also accuse Public.Resource.Org of
 jeopardizing safety because of the errors. JA141-143(ASTM-Dkt-118-1 at 46-48).
 But Public.Resource.Org made clear, with cover sheets and disclaimers, exactly
 what it was doing in scanning and reformatting the standards. See, e.g.,
 JA62(ASTM-Dkt-1-7) (original cover sheet); JA345(ASTM-Dkt-118-7 at 249)
 (updated disclaimer); see also JA1074, JA1075-1076(ASTM-Dkt-121-5 ¶¶16, 20-
 22). One error consisted of a page scanned upside down, which was self-evidently
 an error on Public.Resource.Org’s part. Many other “errors” that the SDOs
 accused Public.Resource.Org of creating were present in the original editions of
 the standards as incorporated into law—errors that the SDOs’ members corrected
 in subsequent editions that are not incorporated into the law. See, e.g., JA376-
 378(ASTM-Dkt-118-8 ¶54) (NFPA CEO alleging that Public.Resource.Org
 omitted an important electrical shielding requirement and used incorrect cross-

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       The district court incorrectly construed appearances of the ASTM

 Plaintiffs’ names and logos as trademark uses. As Public.Resource.Org explained

 above, however, it does not use or wish to use any others’ marks to identify the

 source or origin of its own work. Instead Public.Resource.Org strives for

 accuracy and completeness by including the full standards that have become law,

 unaltered just as the law incorporated them, with a disclaimer.13

       The district court also incorrectly applied conflicting pieces of various

 circuits’ nominative fair use tests and trademark-infringement standards, without

 acknowledging that different circuits varied in their approach and their tests could

 not be combined coherently. As a result, the district court did not actually follow

 any of the circuits’ tests, and it instead came to a circular argument that “because

 the court has already determined that consumer confusion as to the source of the

 trademarked standards is likely, the nominative fair use defense is inapplicable.”

 JA2109(ASTM-Dkt-175 at 51).


 references); JA1754-1758(ASTM-Dkt-122-8 at 75-79) (NFPA errata correcting
 this same shielding requirement and cross-referencing problem in its own
 document); JA1079(ASTM-Dkt-121-5 ¶¶32-35).
 13
    Had Public.Resource.Org removed the ASTM Plaintiffs’ names and logos, they
 might well have sued anyway under either a “reverse passing off” trademark
 theory or a “copyright management information” copyright theory.
 Public.Resource.Org is indifferent to the presence or absence of the logos or
 names, so long as the public understands what the incorporated documents are.
 That the ASTM Plaintiffs would likely object to the documents either way shows
 that the alleged trademark violation consists simply of the reproductions and
 display, making Dastar preclusion appropriate.

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       Different circuits approach nominative fair use differently, and this Court

 appears not to have addressed the issue. Any coherent approach would protect

 Public.Resource.Org here. Public.Resource.Org recommends this Court consider

 either the Ninth Circuit or the Second Circuit approach. In the Ninth Circuit, the

 doctrine applies where:

       First, the product or service in question must be one not readily
       identifiable without use of the trademark; second, only so much of the
       mark or marks may be used as is reasonably necessary to identify the
       product or service; and third, the user must do nothing that would, in
       conjunction with the mark, suggest sponsorship or endorsement by the
       trademark holder.

 New Kids on the Block v. News America Publ’g, Inc., 971 F.2d 302, 308 (9th Cir.

 1992); see also Toyota Motor Sales, U.S.A., Inc. v. Tabari, 610 F.3d 1171, 1175

 (9th Cir. 2010); Playboy Enters., Inc. v. Welles, 279 F.3d 796 (9th Cir. 2002).

       Alternatively, the Second Circuit’s approach in Tiffany (NJ) Inc. v. eBay

 Inc., 600 F.3d 93, 102-03 (2d Cir. 2010), would also protect Public.Resource.Org.

 The Second Circuit did not formally adopt the nominative fair use doctrine but

 used its concepts in a typical likelihood-of-confusion analysis to find no

 trademark infringement as a matter of law. Whether one articulates a distinct

 nominative fair use doctrine, folds the concepts into an infringement analysis, or

 considers Public.Resource.Org’s uses not to be “trademark use” at all, the result is

 the same: as a matter of law there is no trademark infringement here.




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       The district court drew a wrong conclusion without applying Dastar

 correctly, without properly appraising nominative fair use and infringement

 standards, and without applying the correct summary judgment standard.14 This

 Court should reverse the district court with instructions to grant judgment to

 Public.Resource.Org on the trademark claims. In the alternative, the Court should

 vacate summary judgment and the trademark injunction and remand the case with

 instructions to apply the correct trademark law and summary judgment standards.

                                   CONCLUSION

       For the reasons Public.Resource.Org stated above, this Court should reverse

 the summary judgment decisions of the district court, vacate the permanent

 injunctions, and direct entry of judgment in favor of Public.Resource.Org on all

 claims. In the alternative, the Court should reverse the summary judgment

 decisions of the district court, including that court’s rulings on copyright

 ownership and fair use defenses under copyright and trademark law; reverse the

 evidentiary rulings of the district court; vacate the injunctions; and remand the

 case for further proceedings.




 14
   There is no evidence of consumer confusion in this case, and the ASTM
 Plaintiffs did not submit an expert report concerning trademark issues.

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  Dated: February 14, 2018        Respectfully submitted,
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                       CERTIFICATE OF COMPLIANCE

       1.    This document complies with the word limit of Fed. R. App. P.

 32(a)(7) because, excluding the parts of the document exempted by Fed. R. App.

 P. 32(f), this document contains 12,959 words, according to the word-processing

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 App. P. 32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6)

 because it uses proportionally spaced 14-point Times New Roman typeface.



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                          CERTIFICATE OF SERVICE
       I, Andrew P. Bridges, hereby certify that on February 14, 2018, I

 electronically filed the foregoing Appellant Public.Resource.Org’s Final

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     ADDENDUM OF STATUTORY

               AND OTHER TEXTS
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 U.S. Const. art. I, § 8, cl. 8
 The Congress shall have Power
 * * *
 To promote the Progress of Science and useful Arts, by securing for limited Times
 to Authors and Inventors the exclusive Right to their respective Writings and
 Discoveries;
 * * *


 U.S. Const. amend. I
 Congress shall make no law respecting an establishment of religion, or prohibiting
 the free exercise thereof; or abridging the freedom of speech, or of the press; or the
 right of the people peaceably to assemble, and to petition the government for a
 redress of grievances.


 U.S. Const. amend. V
 No person shall be held to answer for a capital, or otherwise infamous crime,
 unless on a presentment or indictment of a grand jury, except in cases arising in the
 land or naval forces, or in the militia, when in actual service in time of war or
 public danger; nor shall any person be subject for the same offense to be twice put
 in jeopardy of life or limb; nor shall be compelled in any criminal case to be a
 witness against himself, nor be deprived of life, liberty, or property, without due
 process of law; nor shall private property be taken for public use, without just
 compensation.


 U.S. Const. amend. XIV, Section 1
 All persons born or naturalized in the United States, and subject to the jurisdiction
 thereof, are citizens of the United States and of the state wherein they reside. No
 state shall make or enforce any law which shall abridge the privileges or
 immunities of citizens of the United States; nor shall any state deprive any person
 of life, liberty, or property, without due process of law; nor deny to any person
 within its jurisdiction the equal protection of the laws.




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 5 U.S.C. § 552(a)(1)
 Public information; agency rules, opinions, orders, records, and proceedings
 (a) Each agency shall make available to the public information as follows:
     (1) Each agency shall separately state and currently publish in the Federal
         Register for the guidance of the public—
          (A) descriptions of its central and field organization and the established
              places at which, the employees (and in the case of a uniformed
              service, the members) from whom, and the methods whereby, the
              public may obtain information, make submittals or requests, or
              obtain decisions;
          (B) statements of the general course and method by which its functions
              are channeled and determined, including the nature and requirements
              of all formal and informal procedures available;
          (C) rules of procedure, descriptions of forms available or the places at
              which forms may be obtained, and instructions as to the scope and
              contents of all papers, reports, or examinations;
          (D) substantive rules of general applicability adopted as authorized by
              law, and statements of general policy or interpretations of general
              applicability formulated and adopted by the agency; and
          (E) each amendment, revision, or repeal of the foregoing.
 Except to the extent that a person has actual and timely notice of the terms thereof,
 a person may not in any manner be required to resort to, or be adversely affected
 by, a matter required to be published in the Federal Register and not so published.
 For the purpose of this paragraph, matter reasonably available to the class of
 persons affected thereby is deemed published in the Federal Register when
 incorporated by reference therein with the approval of the Director of the Federal
 Register.




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 17 U.S.C. § 101 (selected definitions)
 Definitions
 Except as otherwise provided in this title, as used in this title, the following terms
 and their variant forms mean the following:
 * * *
 A “joint work” is a work prepared by two or more authors with the intention that
 their contributions be merged into inseparable or interdependent parts of a unitary
 whole.
 * * *
 A “work of the United States Government” is a work prepared by an officer or
 employee of the United States Government as part of that person's official duties.
 A “work made for hire” is—
 (1) a work prepared by an employee within the scope of his or her employment;
 (2) a work specially ordered or commissioned for use as a contribution to a
     collective work, as a part of a motion picture or other audiovisual work, as a
     translation, as a supplementary work, as a compilation, as an instructional
     text, as a test, as answer material for a test, or as an atlas, if the parties
     expressly agree in a written instrument signed by them that the work shall be
     considered a work made for hire. For the purpose of the foregoing sentence, a
     “supplementary work” is a work prepared for publication as a secondary
     adjunct to a work by another author for the purpose of introducing,
     concluding, illustrating, explaining, revising, commenting upon, or assisting
     in the use of the other work, such as forewords, afterwords, pictorial
     illustrations, maps, charts, tables, editorial notes, musical arrangements,
     answer material for tests, bibliographies, appendixes, and indexes, and an
     “instructional text” is a literary, pictorial, or graphic work prepared for
     publication and with the purpose of use in systematic instructional activities.
 * * *




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 17 U.S.C. § 102(b)
 Subject matter of copyright: In general
 (b) In no case does copyright protection for an original work of authorship extend
     to any idea, procedure, process, system, method of operation, concept,
     principle, or discovery, regardless of the form in which it is described,
     explained, illustrated, or embodied in such work.


 17 U.S.C. § 105
 Subject matter of copyright: United States Government works
 Copyright protection under this title is not available for any work of the United
 States Government, but the United States Government is not precluded from
 receiving and holding copyrights transferred to it by assignment, bequest, or
 otherwise.


 17 U.S.C. § 107
 Limitations on exclusive rights: Fair use
 Notwithstanding the provisions of sections 106 and 106A, the fair use of a
 copyrighted work, including such use by reproduction in copies or phonorecords or
 by any other means specified by that section, for purposes such as criticism,
 comment, news reporting, teaching (including multiple copies for classroom use),
 scholarship, or research, is not an infringement of copyright. In determining
 whether the use made of a work in any particular case is a fair use the factors to be
 considered shall include—
 (1) the purpose and character of the use, including whether such use is of a
     commercial nature or is for nonprofit educational purposes;
 (2) the nature of the copyrighted work;
 (3) the amount and substantiality of the portion used in relation to the copyrighted
     work as a whole; and
 (4) the effect of the use upon the potential market for or value of the copyrighted
     work.
 The fact that a work is unpublished shall not itself bar a finding of fair use if such
 finding is made upon consideration of all the above factors.




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 17 U.S.C. § 201(a)
 Ownership of copyright
 (a) Initial Ownership.—Copyright in a work protected under this title vests
     initially in the author or authors of the work. The authors of a joint work are
     coowners of copyright in the work.




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 28 U.S.C. § 1292(a)(1)
 Interlocutory decisions
 (a) Except as provided in subsections (c) and (d) of this section, the courts of
     appeals shall have jurisdiction of appeals from:
      (1) Interlocutory orders of the district courts of the United States, the United
          States District Court for the District of the Canal Zone, the District Court
          of Guam, and the District Court of the Virgin Islands, or of the judges
          thereof, granting, continuing, modifying, refusing or dissolving
          injunctions, or refusing to dissolve or modify injunctions, except where a
          direct review may be had in the Supreme Court;
 * * *




                                        ADD-6
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 1 C.F.R. § 51.1
 Policy.
 (a) Section 552(a) of title 5, United States Code, provides, in part, that “matter
     reasonably available to the class of persons affected thereby is deemed
     published in the Federal Register when incorporated by reference therein with
     the approval of the Director of the Federal Register.”
 (b) The Director will interpret and apply the language of section 552(a) together
     with other requirements which govern publication in the Federal Register and
     the Code of Federal Regulations. Those requirements which govern
     publication include—
     (1) The Federal Register Act (44 U.S.C. 1501 et seq.)
     (2) The Administrative Procedure Act (5 U.S.C. 551 et seq.);
     (3) The regulations of the Administrative Committee of the Federal Register
         under the Federal Register Act (1 CFR Ch. I); and
     (4) The acts which require publication in the Federal Register (See CFR
         volume entitled “CFR Index and Finding Aids.”)
 (c) The Director will assume in carrying out the responsibilities for incorporation
     by reference that incorporation by reference—
     (1) Is intended to benefit both the Federal Government and the members of
         the class affected; and
     (2) Is not intended to detract from the legal or practical attributes of the
         system established by the Federal Register Act, the Administrative
         Procedure Act, the regulations of the Administrative Committee of the
         Federal Register, and the acts which require publication in the Federal
         Register.
 (d) The Director will carry out the responsibilities by applying the standards of
     part 51 fairly and uniformly.
 (e) Publication in the Federal Register of a document containing an incorporation
     by reference does not of itself constitute an approval of the incorporation by
     reference by the Director.
 (f) Incorporation by reference of a publication is limited to the edition of the
     publication that is approved. Future amendments or revisions of the
     publication are not included.




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 1 C.F.R. § 51.3
 When will the Director approve a publication?
 (a) (1) The Director will informally approve the proposed incorporation by
         reference of a publication when the preamble of a proposed rule meets
         the requirements of this part (See § 51.5(a)).
     (2) If the preamble of a proposed rule does not meet the requirements of this
         part, the Director will return the document to the agency (See 1 CFR 2.4).
 (b) The Director will formally approve the incorporation by reference of a
     publication in a final rule when the following requirements are met:
     (1) The publication is eligible for incorporation by reference (See § 51.7).
     (2) The preamble meets the requirements of this part (See § 51.5(b)(2)).
     (3) The language of incorporation meets the requirements of this part (See
         § 51.9).
     (4) The publication is on file with the Office of the Federal Register.
     (5) The Director has received a written request from the agency to approve
         the incorporation by reference of the publication.
 (c) The Director will notify the agency of the approval or disapproval of an
     incorporation by reference in a final rule within 20 working days after the
     agency has met all the requirements for requesting approvals (See § 51.5).




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 1 C.F.R. § 51.5
 How does an agency request approval?
 (a) For a proposed rule, the agency does not request formal approval but must:
     (1) Discuss, in the preamble of the proposed rule, the ways that the materials
         it proposes to incorporate by reference are reasonably available to
         interested parties or how it worked to make those materials reasonably
         available to interested parties; and
     (2) Summarize, in the preamble of the proposed rule, the material it proposes
         to incorporate by reference.
 (b) For a final rule, the agency must request formal approval. The formal request
     package must:
     (1) Send a letter that contains a written request for approval at least 20
         working days before the agency intends to submit the final rule document
         for publication;
     (2) Discuss, in the preamble of the final rule, the ways that the materials it
         incorporates by reference are reasonably available to interested parties
         and how interested parties can obtain the materials;
     (3) Summarize, in the preamble of the final rule, the material it incorporates
         by reference;
     (4) Send a copy of the final rule document that uses the proper language of
         incorporation with the written request (See § 51.9); and
     (5) Ensure that a copy of the incorporated material is on file at the Office of
         the Federal Register.
 (c) Agencies may consult with the Office of the Federal Register at any time with
     respect to the requirements of this part.




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 1 C.F.R. § 51.7
 What publications are eligible?
 (a) A publication is eligible for incorporation by reference under 5 U.S.C. 552(a)
     if it—
     (1) Conforms to the policy stated in § 51.1;
     (2) (i) Is published data, criteria, standards, specifications, techniques,
             illustrations, or similar material; and
          (ii) Does not detract from the usefulness of the Federal Register
               publication system; and
     (3) Is reasonably available to and usable by the class of persons affected. In
         determining whether a publication is usable, the Director will consider—
          (i) The completeness and ease of handling of the publication; and
          (ii) Whether it is bound, numbered, and organized, as applicable.
 (b) The Director will assume that a publication produced by the same agency that
     is seeking its approval is inappropriate for incorporation by reference. A
     publication produced by the agency may be approved, if, in the judgment of
     the Director, it meets the requirements of paragraph (a) and possesses other
     unique or highly unusual qualities. A publication may be approved if it cannot
     be printed using the Federal Register/Code of Federal Regulations printing
     system.
 (c) The following materials are not appropriate for incorporation by reference:
     (1) Material published previously in the Federal Register.
     (2) Material published in the United States Code.




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 1 C.F.R. § 51.9
 What is the proper language of incorporation?
 (a) The language incorporating a publication by reference must be precise,
     complete, and clearly state that the incorporation by reference is intended and
     completed by the final rule document in which it appears.
 (b) The language incorporating a publication by reference is precise and complete
     if it—
     (1) Uses the words “incorporated by reference;”
     (2) States the title, date, edition, author, publisher, and identification number
         of the publication;
     (3) Informs the user that the incorporated publication is a requirement;
     (4) Makes an official showing that the publication is in fact available by
         stating where and how copies may be examined and readily obtained
         with maximum convenience to the user; and
     (5) Refers to 5 U.S.C. 552(a).
 (c) If the Director approves a publication for incorporation by reference in a final
     rule, the agency must include—
     (1) The following language under the DATES caption of the preamble to the
         final rule document (See 1 CFR 18.12 Preamble requirements):
          The incorporation by reference of certain publications listed in the
          regulations is approved by the Director of the Federal Register as of
          ____.
     (2) The preamble requirements set out in 51.5(b).
     (3) The term “incorporation by reference” in the list of index terms (See 1
         CFR 18.20 Identification of subjects in agency regulations).




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 1 C.F.R. § 51.11
 How does an agency change or remove an approved incorporation?
 (a) An agency that seeks approval for a change to a publication that is approved
     for incorporation by reference must—
     (1) Publish notice of the change in the Federal Register and amend the Code
         of Federal Regulations;
     (2) Ensure that a copy of the amendment or revision is on file at the Office of
         the Federal Register; and
     (3) Notify the Director of the Federal Register in writing that the change is
         being made.
 (b) If a regulation containing an incorporation by reference fails to become
     effective or is removed from the Code of Federal Regulations, the agency
     must notify the Director of the Federal Register in writing of that fact within 5
     working days of the occurrence.




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 34 C.F.R. § 668.146(b)(6)
 Criteria for approving tests.
 (b) To be approved under this subpart, a test must:
 * * *
     (6) Meet all standards for test construction provided in the 1999 edition of
         the Standards for Educational and Psychological Testing, prepared by a
         joint committee of the American Educational Research Association, the
         American Psychological Association, and the National Council on
         Measurement in Education incorporated by reference in this section.
         Incorporation by reference of this document has been approved by the
         Director of the Office of the Federal Register pursuant to the Director's
         authority under 5 U.S.C. 552(a) and 1 CFR part 51. The incorporated
         document is on file at the Department of Education, Federal Student Aid,
         room 113E2, 830 First Street, NE., Washington, DC 20002, phone (202)
         377–4026, and at the National Archives and Records Administration
         (NARA). For information on the availability of this material at NARA,
         call 1–866–272–6272, or go to:
         http://www.archives.gov/federal_register/code_of_federal_regulations/
         ibr_locations.html. The document also may be obtained from the
         American Educational Research Association at: http://www.aera.net; and
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 49 C.F.R. § 171.7(a), (h), (y)
 Reference material.
 (a) Matter incorporated by reference—
     (1) General. Certain material is incorporated by reference into subchapters A,
         B, and C with the approval of the Director of the Federal Register under
         5 U.S.C. 552(a) and 1 CFR part 51. To enforce any edition other than that
         specified in this section, PHMSA must publish a document in the Federal
         Register and the material must be available to the public. Matters
         referenced by footnote are included as part of the regulations of this
         subchapter.
     (2) Accessibility of materials. All incorporated matter is available for
         inspection at:
          (i) The Office of Hazardous Materials Safety, Office of Hazardous
              Materials Standards, East Building, PHH–10, 1200 New Jersey
              Avenue SE., Washington, DC 20590–0001. For information on the
              availability of this material at PHH–10, call 1–800–467–4922, or go
              to: http://www.phmsa.dot.gov; and
          (ii) The National Archives and Records Administration (NARA). For
               information on the availability of this material at NARA, call 202–
               741–6030, or go to:
               http://www.archives.gov/federal_register/code_of_federal_regulatio
               ns/ibr_locations.html.
 * * *
 (h) American Society for Testing and Materials, 100 Barr Harbor Drive, West
     Conshohocken, PA 1942, telephone (610) 832–9585, http://www.astm.org.
     Copies of historical standards or standards that ASTM does not have may be
     purchased from: Engineering Societies Library, 354 East 47th Street, New
     York, NY 10017.
     (1) ASTM A 20/A 20M–93a Standard Specification for General
         Requirements for Steel Plates for Pressure Vessels, 1993, into §§
         178.337–2; 179.102–4; 179.102–1; 179.102–17.
     (2) ASTM A 47–68 Malleable Iron Castings, 1968, into § 179.200–15.
     (3) ASTM A 53/A 53M–06a (ASTM A 53) Standard Specification for Pipe,
         Steel, Black and Hot–Dipped, Zinc–Coated, Welded and Seamless, 2006,
         into § 173.5b.


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     (4) ASTM A 106/A 106M–06a (ASTM A 106) Standard Specification for
         Seamless Carbon Steel Pipe for High–Temperature Service, 2006, into §
         173.5b.
     (5) ASTM A 240/A 240M–99b Standard Specification for Heat–Resisting
         Chromium and Chromium–Nickel Stainless Steel Plate, Sheet and Strip
         for Pressure Vessels, 1999, into §§ 178.57; 178.358–5; 179.100–7;
         179.100–10; 179.102–1; 179.102–4; 179.102–17; 179.200–7; 179.201–5;
         179.220–7; 179.300–7; 179.400–5.
     (6) ASTM A 242–81 Standard Specification for High–Strength Low–Alloy
         Structural Steel, 1981, into § 178.338–2.
     (7) ASTM A 262–93a Standard Practices for Detecting Susceptibility to
         Intergranular Attack in Austenitic Stainless Steels, 1993, into 179.100–7;
         179.200–7; 179.201–4.
     (8) ASTM A 285–78 Pressure Vessel Plates, Carbon Steel, Low- and
         Intermediate–Tensile Strength, 1978, into § 179.300–7.
     (9) ASTM A 300–58 Steel Plates for Pressure Vessels for Service at Low
         Temperatures, 1958, into § 178.337–2.
     (10) ASTM A 302/A 302M–93 Standard Specification for Pressure Vessel
          Plates, Alloy Steel, Manganese–Molybdenum and Manganese–
          Molybdenum Nickel, 1993, into § 179.100–7; 179.200–7; 179.220–7.
     (11) ASTM A 333–67 Seamless and Welded Steel Pipe for Low–Temperature
          Service, 1967, into § 178.45.
     (12) ASTM A 370–94 Standard Test 179.102–1; 179.102–4; Methods and
          Definitions for Mechanical Testing of Steel Products, 1994, into §§
          179.102–17; 179.102–1; 179.102–4.
     (13) ASTM A 441–81 Standard Specification for High–Strength Low–Alloy
          Structural Manganese Vanadium Steel, 1981, into § 178.338–2.
     (14) ASTM A 514–81 Standard Specification for High–Yield Strength
          Quenched and Tempered Alloy Steel Plate, Suitable for Welding, 1981,
          into § 178.338–2.
     (15) ASTM A 515/A 515M–03 Standard Specification for Pressure Vessel
          Plates, Carbon Steel, for Intermediate- and Higher–Temperature Service,
          2003, into § 179.300–7.
     (16) ASTM A 516/A 516M–90 Standard Specification for Pressure Vessel
          Plates, Carbon Steel, for Moderate and Lower–Temperature Service,


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         1990, into § 178.337–2; 179.100–7; 179.102–1; 179.102–2; 179.102–4;
         179.102–17; 179.200–7; 179.220–7; 179.300–7.
     (17) ASTM A 537/A 537M–91 Standard Specification for Pressure Vessel
          Plates, Heat–Treated, Carbon–Manganese–Silicon Steel, 1991, into §
          179.100–7; 179.102–4; 179.102–17.
     (18) ASTM A 572–82 Standard Specification for High–Strength Low–Alloy
          Columbian–Vanadium Steels of Structural Quality, 1982, into §
          178.338–2.
     (19) ASTM A 588–81 Standard Specification for High–Strength Low–Alloy
          Structural Steel with 50 Ksi Minimum Yield Point to 4 in. Thick, 1981,
          into § 178.338–2.
     (20) ASTM A 606–75 Standard Specification for Steel Sheet and Strip Hot–
          Rolled and Cold–Rolled, High–Strength, Low–Alloy, with Improved
          Atmospheric Corrosion Resistance, 1975 (Reapproved 1981), into §
          178.338–2.
     (21) ASTM A 607–98 Standard Specification for Steel, Sheet and Strip,
          High–Strength, Low–Alloy, Columbium or Vanadium, or Both, Hot–
          Rolled and Cold–Rolled, 1998, into § 178.338–2.
     (22) ASTM A 612–72a High Strength Steel Plates for Pressure Vessels for
          Moderate and Lower Temperature Service, 1972, into § 178.337–2.
     (23) ASTM A 633–79a Standard Specification for Normalized High–Strength
          Low–Alloy Structural Steel, 1979 Edition, into § 178.338–2.
     (24) ASTM A 715–81 Standard Specification for Steel Sheet and Strip, Hot–
          Rolled, High–Strength, Low–Alloy with Improved Formability, 1981,
          into § 178.338–2.
     (25) ASTM A 1008/A 1008M–03 Standard Specification for Steel, Sheet,
          Cold–Rolled, Carbon, Structural, High–Strength Low–Alloy and High
          Strength Low–Alloy with Improved Formability, 2003, into § 178.338–2;
          178.345–2.
     (26) ASTM A 1011/A 1011M–03a Standard Specification for Steel, Sheet and
          Strip, Hot–Rolled, Carbon, Structural, High–Strength Low Alloy and
          High Strength Low–Alloy with Improved Formability, 2003, into §
          178.338–2; 178.345–2.
     (27) ASTM B 162–93a Standard Specification for Nickel Plate, Sheet, and
          Strip, 1993, into § 173.249; 179.200–7.


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     (28) ASTM B 209–93 Standard Specification for Aluminum and Aluminum–
          Alloy Sheet and Plate, 1993, into § 179.100–7; 179.200–7; 179.220–7.
     (29) ASTM B 221–76 Aluminum Alloy Extruded Bars, Rods, Shapes, and
          Tubes, 1976, into § 178.46.
     (30) ASTM B 557–84 Tension Testing Wrought and Cast Aluminum and
          Magnesium–Alloy Products, 1984, into § 178.46.
     (31) ASTM B 580–79 Standard Specification for Anodic Oxide Coatings on
          Aluminum, (Re-approved 2000), into § 173.316; 173.318; 178.338–17.
     (32) ASTM D 56–05, Standard Test Method for Flash Point by Tag Closed
          Cup Tester, approved May 1, 2005, into § 173.120.
     (33) ASTM D 86–07a, Standard Test Method for Distillation of Petroleum
          Products at Atmospheric Pressure, approved April 1, 2007, into §
          173.121.
     (34) ASTM D 93–08, Standard Test Methods for Flash Point by Pensky–
          Martens Closed Cup Tester, approved October 15, 2008, into § 173.120.
     (35) ASTM D 1078–05, Standard Test Method for Distillation Range of
          Volatile Organic Liquids, approved May 15, 2005, into § 173.121.
     (36) ASTM D 1238–90b Standard Test Method for Flow Rates of
          Thermoplastics for Extrusion Plastometer, 1990, into § 173.225.
     (37) ASTM D 1709–01 Standard Test Methods for Impact Resistance of
          Plastic Film by the Free–Falling Dart Method, 2001, into § 173.197.
     (38) ASTM D 1835–97 Standard Specification for Liquefied Petroleum (LP)
          Gases, 1997, into § 180.209.
     (39) ASTM D 1838–64 Copper Strip Corrosion by Liquefied Petroleum (LP)
          Gases, 1964, into § 173.315.
     (40) ASTM D 1922–00a Standard Test Method for Propogation Tear
          Resistance of Plastic Film and Thin Sheeting by Pendulum Method,
          2000, into § 173.197.
     (41) ASTM D 3278–96 (Reapproved 2004) E1, Standard Test Methods for
          Flash Point of Liquids by Small Scale Closed–Cup Apparatus, approved
          November 1, 2004, into § 173.120.
     (42) ASTM D 3828–07a, Standard Test Methods for Flash Point by Small
          Scale Closed Cup Tester, approved July 15, 2007, § 173.120.



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     (43) ASTM D 4206–96 Standard Test Method for Sustained Burning of
          Liquid Mixtures Using the Small Scale Open–Cup Apparatus, 1996, into
          § 173.120.
     (44) ASTM D 4359–90 Standard Test Method for Determining Whether a
          Material is a Liquid or a Solid, 1990 into §§ 130.5, 171.8.
     (45) ASTM E 8–99 Standard Test Methods for Tension Testing of Metallic
          Materials, 1999, into § 178.36; 178.37; 178.38; 178.39; 178.44; 178.45;
          178.50; 178.51; 178.53; 178.55; 178.56; 178.57; 178.58; 178.59; 178.60;
          178.61; 178.68.
     (46) ASTM E 23–98 Standard Test Methods for Notched Bar Impact Testing
          of Metallic Materials, 1998, into § 178.57.
     (47) ASTM E 112–88 Standard Test Methods for Determining Average Grain
          Size, 1988, into § 178.44.
     (48) ASTM E 112–96 Standard Test Methods for Determining Average Grain
          Size, 1996 Edition, into § 178.274; Part 178, appendix A.
     (49) ASTM E 114–95 Standard Practice for Ultrasonic Pulse–Echo Straight–
          Beam Examination by the Contact Method, 1995, into § 178.45.
     (50) ASTM E 213–98 Standard Practice for Ultrasonic Examination of Metal
          Pipe and Tubing, into § 178.45.
     (51) ASTM E 290–97a Standard Test Methods for Bend Testing of Material
          for Ductility, published February 1998, into § 178.37.
 * * *
 (y) National Fire Protection Association, 1 Batterymarch Park, Quincy, MA,
     02169–7471 1–617–770–3000, http://www.nfpa.org.
     (1) NFPA 58–Liquefied Petroleum Gas Code, 2001 Edition, into §§ 173.5,
         173.315.
     (2) NFPA 498–Standards for Safe Havens and Interchange Lots for Vehicles
         Transporting Explosives, 2010 Edition, into § 177.835.
 * * *




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 Compendium of the U.S. Copyright Office Practice (2014), Section 313.6(C)(2)
 (available at https://www.copyright.gov/comp3/chap300/ch300-copyrightable-
 authorship.pdf)
 Government Edicts
 As a matter of longstanding public policy, the U.S. Copyright Office will not
 register a government edict that has been issued by any state, local, or territorial
 government, including legislative enactments, judicial decisions, administrative
 rulings, public ordinances, or similar types of official legal materials. Likewise,
 the Office will not register a government edict issued by any foreign government
 or any translation prepared by a government employee acting within the course of
 his or her official duties. See Banks v. Manchester, 128 U.S. 244, 253 (1888)
 (“there has always been a judicial consensus, from the time of the decision in the
 case of Wheaton v. Peters, 8 Pet. 591, that no copyright could under the statutes
 passed by Congress, be secured in the products of the labor done by judicial
 officers in the discharge of their judicial duties”); Howell v. Miller, 91 F. 129, 137
 (6th Cir. 1898) (Harlan, J.) (“no one can obtain the exclusive right to publish the
 laws of a state in a book prepared by him”).
 There is a limited exception to this rule. Section 104(b)(5) of the Act states that
 works first published by the United Nations or any of its specialized agencies, or
 first published by the Organization of American States are eligible for copyright
 protection in the United States. See 17 U.S.C. § 104(b)(5).
 A work that does not constitute a government edict may be registered, even if it
 was prepared by an officer or employee of a state, local, territorial, or foreign
 government while acting within the course of his or her official duties. For
 example, the Office may register a tourist magazine written and published by
 Arizona’s department of tourism or a map created and published by the public
 transit authority for the city of Detroit. Likewise, the Office may register
 annotations that summarize or comment upon legal materials issued by a federal,
 state, local, or foreign government, unless the annotations themselves have the
 force of law. See Chapter 700, Section 717.1.




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 Minnesota Administrative Rules - Rule 4761.2460, Subp. 2(C)
 INDEPENDENT TESTING ORGANIZATIONS; PERMITS.
 * * *
 Subp. 2.
 Application.
 A permit application must be submitted on a form provided by the commissioner.
 The application must:
 * * *
 C.
 include documentation that the examination meets the validity standards for
 educational and psychological testing specified in American Psychological
 Association (APA), Standards for Educational and Psychological Testing (1999).
 This document is not required for an examination that was developed by or for the
 EPA. The APA standards are incorporated by reference, are not subject to frequent
 change, and are available through the Minitex interlibrary loan system through a
 local library;
 * * *




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 N.J. Admin. Code § 11:3-10.4 (1988) (available at 1995 WL 17047923 at 71a-
 73a)
 Adjustment of total losses
 (a) If the insurer elects to make a cash settlement, it must bear in mind at all times
      that the insured’s position is that of a retail consumer and the settlement value
      arrived at must be reasonable and fair for a person in that position. If the
      insurer elects to make a cash settlement, its offer, subject to applicable
      deductions, must be one of the following plus applicable sales tax:
      1. The average of the retail value for a substantially similar motor vehicle as
            listed in the current editions of the two valuation manuals approved by
            the Commissioner.
            i. The average figure arrived at may be reduced by considering all
                  factors, including but not limited to mileage tables and presence or
                  absence of extras.
            ii. If the destroyed vehicle included an option which is listed in one
                  manual but not in the other, the value of the option shall not be
                  averaged. The insured shall receive full value for the option by
                  carrying over the amount listed to the other manual. The option
                  carryover shall apply only in those instances where the option has
                  not been considered by the used vehicle guide either as a separate
                  item or included in the vehicle’s base value.
            iii. Manuals approved for use on and after January 1, 1976, are the
                  “Redbook”, published by National Market Reports, Inc., and the
                  “N.A.D.A. Official Used Car Guide”, published by the National
                  Automobile Dealers Association Used Car Guide Company. The
                  use of any other manuals may be approved by the Commissioner
                  upon demonstration of need, suitability and accuracy.
      2. A quotation obtained by the insurer for a substantially similar motor
            vehicle, obtained from a dealer or individual located within a reasonable
            distance from the principal place of garagement of the insured vehicle.
            The insured must be able to purchase the substantially similar vehicle at
            the quoted location for the insurer’s cash offer plus applicable
            deductions.
      3. If it is not possible to value the damaged vehicle by using alternative
            methods, paragraphs 1 or 2 of this subsection, the insurer must determine
            the retail value by the best available method and must fully explain in
            writing to the insured how its offer was calculated.
      * * *

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 11 N.Y. Admin. Code § 216.7(c) (1990) (available at 1995 WL 17047923 at 73a-
 75a)
 (c) Adjustment of total losses
     (1) If the insurer elects to make a cash settlement, its minimum offer, subject
         to applicable deductions, must be one of the following:
          (i) The average of the retail values for a substantially similar vehicle as
              listed in two valuation manuals current at the date of loss and
              approved by this Department. Manuals approved for use are – The
              Redbook, published by National Market Reports, Inc., and The
              N.A.D.A. Official Used Car Guide, published by the National
              Automobile Dealers Used Car Guide Company. The use of other
              manuals may be approved by this Department upon demonstration
              of need and suitability. If it is evident that an option has not been
              considered in either or both of the above valuation manuals, the
              insurer shall consider the value, if any, of such option in arriving at
              the vehicle’s value and shall utilize the best available method to
              value such option. The insurer may deduct documented, reasonable
              dealer preparation charges, up to $75, from the average of the retail
              values. The insurer shall provide to the insured, no later than the
              date of payment of the claim, a detailed copy of its calculation of the
              insured vehicle’s total loss value, including the valuation of options
              which are not considered in the base price of the vehicle.
          (ii) A quotation for a substantially similar vehicle, obtained by the
               insurer from a qualified dealer located reasonably convenient to the
               insured. A reasonable location shall be within 25 miles of the place
               of principal garagement of the motor vehicle. The substantially
               similar available vehicle must remain available for purchase by the
               insured for a period of three calendar days subsequent to receipt of
               notice of its availability by the insured, and the insured must be able
               to purchase the substantially similar vehicle at the quoted dealer for
               the insurer’s cash offer plus applicable deductions. The insurer must
               maintain in its claim file the dealer’s name and location, the vehicle
               identification number, the dealer stock number, the mileage and the
               major options for the substantially similar vehicle which was the
               basis of its quote. The notice to the insured of the availability of a
               substantially similar vehicle must be sent by certified mail, return
               receipt requested, or be a sound-recorded conversation reflecting the
               date of notice. The three calendar days commence on the date the


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              insured acknowledges receipt of notice. The insured need not
              purchase the vehicle used as the basis of the insurer’s quotation,
              since the quotation merely serves as a basis for the insurer’s offer.
              The foregoing period is satisfied at the point an insured physically
              verifies the existence of the substantially similar available vehicle
              used as the basis of the insurer’s quotation. Should the insurer’s
              research of substantially similar vehicles determine that the retail
              values contained in the valuation manuals, prescribed in
              subparagraph (i) of this paragraph, are inadequate to purchase a
              substantially similar vehicle, the insurer’s offer should be the
              amount determined by such research.




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